Case 9:19-bk-11573-MB      Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11             Desc
                            Main Document    Page 1 of 55


  1   O’MELVENY & MYERS LLP
      Evan M. Jones (S.B. # 115827)
  2   Brian M. Metcalf (S.B. # 205809)
      Darren L. Patrick (S.B. # 310727)
  3   400 South Hope Street, 18th Floor
      Los Angeles, CA 90071-2899
  4   Telephone: (213) 430-6000
      Facsimile: (213) 430-6407
  5   E-mail: ejones@omm.com
      E-mail: bmetcalf@omm.com
  6   E-mail: dpatrick@omm.com

  7   Gary Svirsky (N.Y. SBN: 2899417)
      Samantha M. Indelicato (N.Y. SBN: 5598263)
  8   (appearing pro hac vice)
      Seven Times Square
  9   New York, NY 10036
      Telephone: (212) 326-2000
 10   Facsimile: (212) 326-2061
      E-mail: gsvirsky@omm.com
 11   E-mail: sindelicato@omm.com

 12   Attorneys for UBS AG, London Branch

 13
                              UNITED STATES BANKRUPTCY COURT
 14
                  CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION
 15

 16   In re:                                        Case No. 9:19-bk-11573-MB
 17   HVI CAT CANYON, INC.,                         Chapter 11
 18            Debtor.                              EVIDENTIARY OBJECTIONS TO
                                                    DECLARATION OF RANDEEP S.
 19                                                 GREWAL IN SUPPORT OF MOTION
                                                    FOR INTERIM AND FINAL ORDERS
 20                                                 PURSUANT TO 11 U.S.C. §§ 105, 361, 362
                                                    AND 363 APPROVING USE OF CASH
 21                                                 COLLATERAL, PROVIDING
                                                    ADEQUATE PROTECTION AND
 22                                                 SETTING FINAL HEARING PURSUANT
                                                    TO BANKRUPTCY RULE 4001 [DKT.
 23                                                 NO. 52]
 24                                                 Hearing
                                                    Date: October 3, 2019
 25
                                                    Time: 10:00 a.m.
 26                                                 Place: Courtroom 201
                                                            1415 State Street
 27                                                         Santa Barbara, California
 28


                                          EVIDENTIARY OBJECTIONS
Case 9:19-bk-11573-MB        Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11                    Desc
                              Main Document    Page 2 of 55


  1
             UBS AG, London Branch (“UBS”), the largest secured creditor of this bankruptcy estate,
  2
      submits the following evidentiary objections pursuant to the Federal Rules of Evidence (“FRE”)
  3
      to the Declaration of Randeep S. Grewal in Support of Motion for Interim and Final Orders
  4
      Pursuant to 11 U.S.C. §§ 105, 361, 362 and 363 Approving Use of Cash Collateral, Providing
  5
      Adequate Protection and Setting Final Hearing Pursuant to Bankruptcy Rule 4001 filed on
  6
      August 15, 2019. See Docket No. 52 (“Grewal Declaration”). The Grewal Declaration purports
  7
      to introduce two pieces of documentary “evidence” to support the Debtor’s underlying cash
  8
      collateral motion,1 neither of which is admissible: (1) an incomplete set of audited 2016 year-end
  9
      financial statements for the Debtor and (2) a document entitled “Estimates of Reserves and Future
 10
      Revenue to the HVI Cat Canyon, Inc. Interest in Certain Oil and Gas Properties located in
 11
      California as of December 31, 2016,” purportedly prepared by Netherland, Sewell & Associates,
 12
      Inc. (the “2016 Reserve Report”). See Docket No. 52-1, 52-2.2 Both of these documents are
 13
      inadmissible hearsay for which Mr. Grewal has failed to demonstrate any knowledge, foundation,
 14
      or expertise. Indeed, at the first day hearing, the Court expressly ruled that the 2016 Reserve
 15
      Report was hearsay:
 16
                     Look, you can ask him if he knows personally whether reports were
 17                  sent to UBS, and how many times and when the most recent one
                     was, but testimony about what the reports said or showed without
 18                  the reports themselves, without anybody who prepared them here to
                     testify about them, is just hearsay.3
 19
             The Debtor filed the Cash Collateral Motion while this case was pending in the United
 20
      States Bankruptcy Court for the Southern District of New York. In that venue, evidentiary
 21
      objections are typically raised by oral objection at the hearing or by motion in limine.
 22
      Accordingly, on August 3, 2019, UBS filed a motion in limine to preclude admission of, or
 23
      testimony based on, the Reserve Report, among other reasons because that Court had already
 24
      ruled—at the first day cash collateral hearing—that the Reserve Report was inadmissible hearsay
 25

 26   1
        See Docket No. 11 (the “Cash Collateral Motion”).
      2
 27     For the Court’s convenience, the Grewal Declaration and accompanying exhibits are attached
      hereto as Exhibit A.
 28   3
        Transcript of August 1, 2019 Hearing at 38:20–25.
                                                      -2-
                                          EVIDENTIARY OBJECTIONS
Case 9:19-bk-11573-MB          Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11               Desc
                                Main Document    Page 3 of 55


  1
      and the Grewal Declaration did nothing to cure the hearsay problem the Court identified on the
  2
      record. See Docket No. 83.4 That motion in limine is still pending.
  3
                Now that the Debtor’s bankruptcy case has been transferred to the Central District of
  4
      California, UBS submits these evidentiary objections pursuant to Local Rule 9013 in advance of
  5
      the cash collateral hearing currently set for October 3, 2019. See LBR 9013–1(i) (providing that
  6
      “[f]actual contentions involved in any motion … must be presented, heard, and determined upon
  7
      declarations and other written evidence” and that “[a]n evidentiary objection may be deemed
  8
      waived unless it is … set forth in a separate document[.]”).
  9
                UBS objects to the admission of the 2016 Reserve Report for all of the reasons stated
 10
      herein and in the Motion in Limine. UBS further objects to the admission of the 2016 Financial
 11
      Statement because it, too, is hearsay for which no competent foundation has been established.
 12

 13       No.     Objectionable                                                           Sustained /
 14               Testimony And              Grounds for Objection                        Overruled
                  Proffered Evidence
 15
          1.      Objectionable              Objections: hearsay (FRE 801, 802), lack
 16               Testimony:                 of foundation (FRE 602), inadmissible
                                             opinion, conclusory (FRE 701),               SUSTAINED
 17               ¶ 3. “Annexed hereto       speculative (FRE 602), lack of
                  as Exhibit ‘A’ is a true   authentication (FRE 901).
 18               and correct copy of the
                  audited financial          The 2016 Financial Statement is textbook     _______
 19               statement for the year
                  ending December 31,        hearsay: an unsworn, out-of-court
 20               2016 provided to           statement offered by the Debtor in an
                  Debtor by BDO USA,         apparent attempt to prove the value of its
 21                                                                                       OVERRULED
                  LLP on or around June      oil and gas assets. See FRE 801(c). But
                  13, 2017.”                 the Grewal Declaration does nothing to
 22
                                             cure the hearsay problem. There is no
                  Objectionable              indication of what BDO personnel were
 23               Evidence:                                                               ________
                                             involved or could testify as to the
 24               Exhibit A to Grewal        Statement’s accuracy or significance. The
                  Declaration (2016          attached “audit letter” is simply signed
 25               Financial Statement)       “BDO USA, LLP.” There is no
                                             foundation for any exception to the
 26
                                             hearsay rule. Nor is there any evidence to
 27                                          suggest that Mr. Grewal has any expertise

 28   4
          For the Court’s convenience, a copy of the Motion in Limine is attached hereto as Exhibit B.
                                                        -3-
                                             EVIDENTIARY OBJECTIONS
Case 9:19-bk-11573-MB     Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11              Desc
                           Main Document    Page 4 of 55


  1                                     in analyzing or interpreting financial
                                        statements. His attempt to use the 2016
  2                                     Financial Statement is reliance on hearsay
                                        with no foundation for any exception.
  3
                                        Finally, Mr. Grewal has not authenticated
  4
                                        the 2016 Statement, which is facially
  5                                     incomplete. Specifically, the Statement
                                        includes numerous references to BDO’s
  6                                     “accompanying notes to financial
                                        statements” that are missing from the
  7                                     document. See Docket No. 52-1 at pp. 9–
  8                                     12. Thus, Mr. Grewal’s assertion that
                                        Exhibit A to the Grewal Declaration is a
  9                                     “true and correct copy” of the BDO report
                                        is incorrect.
 10
      2.     Objectionable              Objections: hearsay (FRE 801, 802), lack
 11                                     of foundation (FRE 602), inadmissible
             Testimony:
                                        opinion, conclusory (FRE 701),               SUSTAINED
 12
                                        speculative (FRE 602).
 13          ¶ 4. “Annexed hereto
             as Exhibit ‘B’ is a true   The 2016 Reserve Report is inadmissible
 14          and correct copy of the    hearsay. Indeed, on August 1, 2019—          _______
             Estimate of Reserves
             and Future Revenue to      while this case was pending in the
 15                                     Southern District of New York—Judge
             the HVI Cat Canyon,
             Inc. Interest in Certain   Wiles already ruled that the 2016 Reserve
 16                                                                                  OVERRULED
             Oil and Gas Properties     Report was inadmissible. See Docket No.
 17          located in California as   83 (Motion in Limine) at 5–6.
             of December 31, 2016
 18          provided to the Debtor     Despite this ruling, Mr. Grewal has not
             by petroleum                                                            _______
                                        even attempted to overcome the hearsay
 19          consultants Netherland,
             Sewell and Associates,     problem. In his threadbare declaration,
             Inc., on or about May      Mr. Grewal provides no facts showing
 20                                     that he has any expertise in analyzing
             5, 2017.”
 21                                     reserve reports or has any foundation for
             Objectionable              estimating the Debtor’s value on the basis
 22          Evidence:                  of the Report. Any reliance on the 2016
                                        Reserve Report is speculative and
 23          Exhibit B to Grewal
             Declaration (2016          unsupported.
 24          Reserve Report)

 25

 26

 27

 28
                                                   -4-
                                        EVIDENTIARY OBJECTIONS
Case 9:19-bk-11573-MB    Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11         Desc
                          Main Document    Page 5 of 55


  1   Dated: September 26, 2019               Respectfully submitted,

  2                                           O’MELVENY & MYERS LLP

  3
                                              /s/ Darren L. Patrick
  4                                           Darren L. Patrick
                                              400 South Hope Street, 18th Floor
  5                                           Los Angeles, CA 90071-2899
                                              Telephone: (213) 430-6000
  6                                           Facsimile: (213) 430-6407
                                              E-mail: ejones@omm.com
  7                                           E-mail: bmetcalf@omm.com
                                              E-mail: dpatrick@omm.com
  8
                                              Gary Svirsky
  9                                           Samantha M. Indelicato
                                              (appearing pro hac vice)
 10                                           Seven Times Square
                                              New York, NY 10036
 11                                           Telephone: (212) 326-2000
                                              Facsimile: (212) 326-2061
 12                                           E-mail: gsvirsky@omm.com
                                              E-mail: sindelicato@omm.com
 13
                                              Attorneys for UBS AG, London Branch
 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                            -5-
                                   EVIDENTIARY OBJECTIONS
Case 9:19-bk-11573-MB   Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11   Desc
                         Main Document    Page 6 of 55




                            EXHIBIT A
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 52 Filed
                        Doc 283
                             08/15/19
                                   Filed Entered
                                         09/26/1908/15/19
                                                    Entered 16:15:45
                                                              09/26/19 Main
                                                                       13:55:11
                                                                            Document
                                                                                Desc
                          Main DocumentPg 1 of Page
                                               2    7 of 55
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 52 Filed
                        Doc 283
                             08/15/19
                                   Filed Entered
                                         09/26/1908/15/19
                                                    Entered 16:15:45
                                                              09/26/19 Main
                                                                       13:55:11
                                                                            Document
                                                                                Desc
                          Main DocumentPg 2 of Page
                                               2    8 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                  Filed 09/26/19
                                            EnteredEntered
                                                    08/15/19
                                                           09/26/19
                                                             16:15:45
                                                                    13:55:11
                                                                        Exhibit Desc
                                                                                A
                          Main Document
                                    Pg 1 of 12
                                             Page 9 of 55




                         EXHIBIT
                           A
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 2 of 12
                                           Page 10 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 3 of 12
                                           Page 11 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 4 of 12
                                           Page 12 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 5 of 12
                                           Page 13 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 6 of 12
                                           Page 14 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 7 of 12
                                           Page 15 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 8 of 12
                                           Page 16 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                   Pg 9 of 12
                                           Page 17 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                  Pg 10 of Page
                                           12 18 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                  Pg 11 of Page
                                           12 19 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-1
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               A
                         Main Document
                                  Pg 12 of Page
                                           12 20 of 55
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                   Pg 1 of 23
                                           Page 21 of 55




                         EXHIBIT
                            B
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                   Pg 2 of 23
                                           Page 22 of 55




                   ESTIMATES
                         of
    RESERVES AN D FUTURE REVENUE
                       to the
     HVI CAT CANYON, INC. INTEREST
                         in
   CERTAIN OIL AND GAS PROPERTIES
                     located in ·
                  CALIFORNIA
                       as of
             DECEMBER 31, 2016




    BASED ON PRICE AND COST PARAMETERS
                    specified by
               HVI CAT CANYON, INC.
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                   Pg 3 of 23
                                           Page 23 of 55
                  ii NETHERLAND, SEW'ELL                                                                                                    CHAIRMAN & CEO

NIA n             1.   & ASSOCIATES, INC.
WORLDWIDE PETROLEUM CONSULTANTS
                                                                                                          EXECUTIVE COMMITfEE
                                                                                                  ROBERT C. BARG
                                                                                                  P. SCOTT FROST
                                                                                                 JOHN G HATTNER
                                                                                                                        MlKe K. NORTON
                                                                                                                        DAN PAUL SMITH
                                                                                                                     JOSEPH J. SPELLMAN
                                                                                                                                          C.H. (SCon) Rees Ill
                                                                                                                                           PRESIOl;NT & COO
                                                                                                                                           DANNY 0. SIMMONS
                                                                                                                                                EXEClmVEVP
ENGINEERING • GEOLOGY • GEOPHYSICS • PETROPHYSJCS                                           J. CARTER liENSON; JR.     DANIEL T. WAU<ER      G. l.ANOE BINDER



                                                                May 5, 2017


Mr. Randeep S. Grewal
HVI Cat Canyon, Inc.
630 5th Avenue, Suite 241 O
New York, New York 10111

Dear Mr. Grewal:

In accordance with your request, we have estimated the proved, probable, and possible reserves and future
revenue, as of December 31, 2016, to the HVI Cat Canyon, Inc. (HVI) interest in certain oil and gas properties
located in California, as listed in the accompanying tabulations. We completed our evaluation on or about the
date of this letter. This report has been prepared using price and cost parameters specified by HVI, as discussed
in subsequent paragraphs of this letter. The estimates in this report have been prepared in accordance with the
definitions and guidelines set forth in the 2007 Petroleum Resources Management System (PRMS) approved by
the Society of Petroleum Engineers (SPE); definitions are presented immediately following this letter.

We estimate the net reserves and future net revenue to the HVI interest in these properties, as of December 31,
2016, to be:

                                                                Net Reserves                               Future Net Revenue {M$}
                                                            Oil              Gas                                        Present Worth
                       Catego~                            {MBBL}          {MMCF}                            Total          at 10%

     Proved Developed Producing                            5,940.4                 269.1                  52,806.7                   35,305.7
     Proved Developed Non-Producing                       10,430.7                 848.4                 154,093.1                   64,348.6
     Proved Undeveloped                                    4,252.2                 444.1                 117,522.3                   36,198.6

       Total Proved                                       20,623.3               1,561.5                 324,422.1                 135,852.9

     Probable                                              8,855.6                 864.4                 190,855.5                   50,225.0

     Possible                                              6,636.1                   34.5                193,548.9                   49,258.2
     Totals may not add because of rounding.

The oil volumes shown include crude oil only. Oil volumes are expressed in thousands of barrels (MBBL); a
barrel is equivalent to 42 United States gallons. Gas volumes are expressed in millions of cubic feet (MMCF) at
standard temperature and pressure bases. Oil equivalent volumes shown in this report are expressed in
thousands of barrels of oil equivalent (MBOE), determined using the ratio of 6 MCF of gas to 1 barrel of oil.

The estimates shown in this report are for proved, probable, and possible reserves. This report does not include
any value that could be attributed to interests in undeveloped acreage beyond those tracts for which undeveloped
reserves have been estimated. Reserves categorization conveys the relative degree of certainty; reserves
subcategorization-is·based on development and production status. The estimates of reserves and future revenue
included herein have not been adjusted for risk.

As shown in the Table of Contents, this report includes summary projections of reserves and revenue by reserves
category for all properties. Included for each field or area are reserves and economics data by reserves category;
these data include summary projections of reserves and revenue along with one-line summaries of basic data,
reserves, and economics by lease.



2100 R.oss AVENUE. SUITE 2200 • DALLAS, TEXAS 75201 • PH: 214·969-5401 .. FAX: 214-969-5411                                       info@nsai-petro.com
1301 MCKINNEY STREET. SUITE 3200 • HOUSTON, TEXAS 77010 • PH: 713-654-4950 • FAX! 713-654-4951                                   netherlandsewetl.com
   Case
    19-12417-mew
        9:19-bk-11573-MB
                    Doc 52-2
                           DocFiled
                               283 08/15/19
                                    Filed 09/26/19
                                              EnteredEntered
                                                      08/15/19
                                                             09/26/19
                                                               16:15:45
                                                                      13:55:11
                                                                          Exhibit Desc
                                                                                  B
                            Main Document
                                      Pg 4 of 23
                                              Page 24 of 55




Gross revenue shown in this report is HVl's share of the gross (100 percent) revenue from the properties prior to
any deductions. Future net revenue is after deductions for HVl's share of production taxes, ad valorem taxes,
capital costs, and operating expenses but before consideration of any income taxes. For the purposes of this
report, the production and ad valorem taxes are included in operating costs. The future net revenue has been
discounted at an annual rate of 10 percent to determine its present worth, which is shown to indicate the effect of
time on the value of money. Future net revenue presented in this report, whether discounted or undiscounted,
should not be construed as being the fair market value of the properties.

As requested, this report has been prepared using oil and gas price parameters specified by HVI. Oil prices are
based on January 3, 2017, NYMEX West Texas Intermediate prices and are adjusted by field for quality,
transportation fees, and market differentials. Gas prices are based on January 3, 2017, NYMEX Henry Hub
prices and are adjusted by field for energy content, transportation fees, and market differentials. All prices, before
adjustments, are shown in the following table:

                                       Period          Oil Price      Gas Price
                                       Ending         {$/Barrel)     {$/MM BTU}

                                    12-31-2017          54.84           3.384
                                    12-31-2018          55.69           3.065
                                    12-31-2019          55.24           2.861
                                    12-31-2020          55.18           2.865
                                    Thereafter          55.33           2.895

Operating costs used in this report are based on operating expense records of HVI, the operator of the properties,
and include only direct lease- and field-level costs. Operating costs have been divided into field-level costs, per-
well costs, Belridge North Field per-unit-of-steam costs, and Santa Maria Valley Area per-unit-of-oil costs. As
requested, these costs do not include the per-well overhead expenses allowed under joint operating agreements,
nor do they include the headquarters general and administrative overhead expenses of HVI. Also as requested,
operating costs are not escalated for inflation.

Capital costs used in this report were provided by HVI and are based on authorizations for expenditure and actual
costs from recent activity. Capital costs are included as required for workovers, new development wells, and
production equipment. Based on our understanding of future development plans, a review of the records
provided to us, and our knowledge of similar properties, we regard these estimated capital costs to be
reasonable. As requested, capital costs are not escalated for inflation. Also as requested, our estimates do not
include any salvage value for the lease and well equipment or the cost of abandoning the properties.

For the purposes of this report, we did not perform any field inspection of the properties, nor did we examine the
mechanical operation or condition of the wells and facilities. We have not investigated possible environmental
liability related to the properties; therefore, our estimates do not include any costs due to such possible liability.

We have made no investigation of potential volume and value imbalances resulting from overdelivery or
underdelivery to the HVI interest. Therefore, our estimates of reserves and future revenue do not include
adjustments for the settlement of any such imbalances; our projections are based on HVI receiving its net
revenue interest share of estimated future gross production. Additionally, we have made no investigation of any
firm transportation contracts that may be in place for these properties; no adjustments have been made to our
estimates of future revenue to account for such contracts.

The reserves shown in this report are estimates only and should not be construed as exact quantities. Proved
reserves are those quantities of oil and gas which, by analysis of engineering and geoscience data, can be
estimated with reasonable certainty to be commercially recoverable; probable and possible reserves are those
additional reserves which are sequentially less certain to be recovered than proved reserves. Estimates of
reserves may increase or decrease as a result of market conditions, future operations, changes in regulations, or
actual reservoir performance. In addition to the primary economic assumptions discussed herein, our estimates
are based on certain assumptions including, but not limited to, that the properties will be developed consistent
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                   Pg 5 of 23
                                           Page 25 of 55




with current development plans as provided to us by HVI, that the properties will be operated in a prudent
manner, that no governmental regulations or controls will be put in place that would impact the ability of the
interest owner to recover the reserves, and that our projections of future production will prove consistent with
actual performance. If the reserves are-recovered, the revenues therefrom and the costs related thereto could be
more or less than the estimated amounts. Because of governmental policies and uncertainties of supply and
demand, the sales rates, prices received for the reserves, and costs incurred in recovering such reserves may
vary from assumptions made while preparing this report.

For the purposes of this report, we used technical and economic data including, but not limited to, well logs,
geologic maps, well test data, production data, historical price and cost information, and property ownership
interests. The reserves in this report have been estimated using deterministic methods; these estimates have
been prepared in accordance with generally accepted petroleum engineering and evaluation principles set forth in
the Standards Pertaining to the Estimating and Auditing of Oil and Gas Reserves Information promulgated by the
SPE (SPE Standards). We used standard engineering and geoscience methods, or a combination of methods,
including performance analysis, volumetric analysis, and analogy, that we considered to be appropriate and
necessary to classify, categorize, and estimate reserves in accordance with the 2007 PRMS definitions and
guidelines. A substantial portion of these reserves are for behind-pipe zones, shut-in wells to be returned to
production, and undeveloped locations; such reserves are based on estimates of reservoir volumes and recovery
efficiencies along with analogy to properties with similar geologic and reservoir characteristics. As in all aspects
of oil and gas evaluation, there are uncertainties inherent in the interpretation of engineering and geoscience
data; therefore, our conclusions necessarily represent only informed professional judgment.

The data used in our estimates were obtained from HVI, public data sources, and the nonconfidential files of
Netherland, Sewell & Associates, Inc. and were accepted as accurate. Supporting work data are on file in our
office. We have not examined the titles to the properties or independently confirmed the actual degree or type of
interest owned. The technical persons primarily responsible for preparing the estimates presented herein meet
the requirements regarding qualifications, independence, objectivity, and confidentiality set forth in the SPE
Standards. We are independent petroleum engineers, geologists, geophysicists, and petrophysicists; we do not
own an interest in these properties nor are we employed on a contingent basis.

                                                                      Sincerely,

                                                                      NETHERLAND, SEWELL & ASSOCIATES, INC.
                                                                      Texas Registered Engineering Firm F-2699


                                                                            /s/ C.H. (Scott) Rees Ill
                                                                      By:
                                                                            C.H. (Scott) Rees Ill, P.E.
                                                                            Chairman and Chief Executive Officer




      /s/ Craig H. Adams                                                    /s/ John G. Hattner
By:                                                                   By:
      Craig H. Adams, P.E. 68137                                            John G. Hattner, P.G. 559
      Senior Vice President                                                 Senior Vice President


Date Signed: May 5, 2017                                              Date Signed: May 5, 2017


CHA:KAT
 Please be advised that the digital document you are viewing is provided by Netherland, Sewell & Associates, Inc. (NSAI) as a convenience
 to our clients. The digital document is intended to be substantively the same as the original signed document maintained by NSAI. The
 digital document is subject to the parameters, limitations, and conditions stated in the original document. In the event of any differences
 between the digital document and the original document, the original document shall control and supersede the digital document.
   Case
    19-12417-mew
        9:19-bk-11573-MB
                    Doc 52-2
                           DocFiled
                               283 08/15/19
                                    Filed 09/26/19
                                              EnteredEntered
                                                      08/15/19
                                                             09/26/19
                                                               16:15:45
                                                                      13:55:11
                                                                          Exhibit Desc
                                                                                  B
                            Main Document
                                      Pg 6 of 23
                                              Page 26 of 55




          PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                         Excerpted from the Petroleum Resources Management System Approved by
                          the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

This document contains information excerpted from definitions and guidelines prepared by the Oil and Gas Reserves
Committee of the Society of Petroleum Engineers (SPE) and reviewed and jointly sponsored by the World Petroleum Council
(WPC), the American Association of Petroleum Geologists (MPG), and the Society of Petroleum Evaluation Engineers
(SPEE).

Preamble
Petroleum resources are the estimated quantities of hydrocarbons naturally occurring on or within the Earth's crust. Resource
assessments estimate total quantities in known and yet-to-be-discovered accumulations; resources evaluations are focused
on those quantities that can potentially be recovered and marketed by commercial projects. A petroleum resources
management system provides a consistent approach to estimating petroleum quantities, evaluating development projects, and
presenting results within a comprehensive classification framework.

These definitions and guidelines are designed to provide a common reference for the international petroleum industry,
including national reporting and regulatory disclosure agencies, and to support petroleum project and portfolio management
requirements. They are intended to improve clarity in global communications regarding petroleum resources. It is expected
that this document will be supplemented with industry education programs and application guides addressing their
implementation in a wide spectrum of technical and/or commercial settings.

It is understood that these definitions and guidelines allow flexibility for users and agencies to tailor application for their
particular needs; however, any modifications to the guidance contained herein should be clearly identified. The definitions and
guidelines contained in this document must not be construed as modifying the interpretation or application of any existing
regulatory reporting requirements.

1.0 Basic Principles and Definitions
The estimation of petroleum resource quantities involves the interpretation of volumes and values that have an inherent
degree of uncertainty. These quantities are associated with development projects at various stages of design and
implementation. Use of a consistent classification system enhances comparisons between projects, groups of projects, and
total company portfolios according to forecast production profiles and recoveries. Such a system must consider both technical
and commercial factors that impact the project's economic feasibility, its productive life, and its related cash flows.

1.1 Petroleum Resources Classification Framework
Petroleum is defined as a naturally occurring mixture                                                         PRODUCTION
consisting of hydrocarbons in the gaseous, liquid, or solid                 ..J                  !                I                             I
                                                                            ~                                                                   I




                                                                                                                                                            '
phase.    Petroleum may also contain non-hydrocarbons,                                           i           RESERVES
                                                                            0
                                                                            0:::
                                                                                                 !                                              i
common examples of which are carbon dioxide, nitrogen,                      w
                                                                            ~
                                                                                                                       i                      I
hydrogen sulfide and sulfur. In rare cases, non-hydrocarbon         [       ;:i;                1P                    2P                     3P
                                                                    [       0
                                                                                                                                                            ~
                                                                                                                       i
content could be greater than 50%.                                  w
                                                                    ~a.
                                                                            0
                                                                                     Proved              Probable
                                                                                                                       i
                                                                                                                               Possible         II          iii
                                                                                                                                                            ~
                                                                                                                                                             Cl>
                                                                                                                  l                             I            E
The term "resources" as used herein is intended to                  z       ..J
                                                                            <                               CONTINGENT                                       E
                                                                                                                                                I
encompass all quantities of petroleum naturally occurring on
or within the Earth's crust, discovered and undiscovered
                                                                    ~:$     0
                                                                            0:::
                                                                            w
                                                                                                            RESOURCES
                                                                                                                                                i
                                                                                                                                                             0
                                                                                                                                                            (J
                                                                                                                                                            'o
(recoverable and unrecoverable), plus those quantities
                                                                    !::     :':!:
                                                                            ;:i;                                       i                        i           Cl>
                                                                    ~       0                    C                    2C                     3C             .,,u
                                                                                                                                                            C

                                                                            ~
                                                                    :E
already produced. Further, it includes all types of petroleum       ::>                                                                                     J:.

whether     currently   considered      "conventional"      or      ~       ::>
                                                                            (/)
                                                                                                 I                     i                        I           (J
                                                                                                                                                             Ol
                                                                    0                                        UNRECOVERABLE                                  C
                                                                    a::
"unconventional."                                                                                                                                           ii
                                                                    Iiia.
                                                                    ..J
                                                                                                 I
                                                                                                 I
                                                                                                                   I
                                                                                                            PROSPECTIVE                         I           eu
Figure 1-1 is a graphical representation of the SPE/WPC/            g                            I           RESOURCES                          i           .5
MPG/SPEE resources classification system. The system                I-
                                                                                                 i                     i                        iI
                                                                                                Low                   Best                  High
defines the major recoverable resources classes: Production,                                  Estimate              Estimate               Estimate
Reserves,    Contingent    Resources,     and    Prospective                                     !                     !                        I

Resources, as well as Unrecoverable petroleum.                                                               UNRECOVERABLE

                                                                                         +--               Range of Uncertainty           --+
                                                                                                                                             Not to scale
The "Range of Uncertainty" reflects a range of estimated
quantities potentially recoverable from an accumulation by a                        Figure 1-1: Resources Classification Framework.
project, while the vertical axis represents the "Chance of


                                                                                                                                 Definitions - Page 1 of 10
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                   Pg 7 of 23
                                           Page 27 of 55




         PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                        Excerpted from the Petroleum Resources Management System Approved by
                         the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

Commerciality", that is, the chance that the project that will be developed and · reach commercial producing status.     The
following definitions apply to the major subdivisions within the resources classification:

    TOTAL PETROLEUM INITIALLY-IN-PLACE is that quantity of petroleum that is estimated to exist originally in naturally
    occurring accumulations. It includes that quantity of petroleum that is estimated, as of a given date, to be contained in
    known accumulations prior to production plus those estimated quantities in accumulations yet to be discovered
    (equivalent to "total resources").

    DISCOVERED PETROLEUM INITIALLY-IN-PLACE is that quantity of petroleum that is estimated, as of a given date, to
    be contained in known accumulations prior to production.

        PRODUCTION is the cumulative quantity of petroleum that has been recovered at a given date. While all
        recoverable resources are estimated and production is measured in terms of the sales product specifications, raw
        production (sales plus non-sales) quantities are also measured and required to support engineering analyses based
        on reservoir voidage (see Production Measurement, section 3.2).

Multiple development projects may be applied to each known accumulation, and each project will recover an estimated portion
of the initially-in-place quantities. The projects shall be subdivided into Commercial and Sub-Commercial, with the estimated
recoverable quantities being classified as Reserves and Contingent Resources respectively, as defined below.

        RESERVES are those quantities of petroleum anticipated to be commercially recoverable by application of
        development projects to known accumulations from a given date forward under defined conditions. Reserves must
        further satisfy four criteria: they must be discovered, recoverable, commercial, and remaining (as of the evaluation
        date) based on the development project(s) applied. Reserves are further categorized in accordance with the level of
        certainty associated with the estimates and may be sub-classified based on project maturity and/or characterized by
        development and production status.

        CONTINGENT RESOURCES are those quantities of petroleum estimated, as of a given date, to be potentially
        recoverable from known accumulations, but the applied project(s) are not yet considered mature enough for
        commercial development due to one or more contingencies. Contingent Resources may include, for example,
        projects for which there are currently no viable markets, or where commercial recovery is dependent on technology
        under development, or where evaluation of the accumulation is insufficient to clearly assess commerciality.
        Contingent Resources are further categorized in accordance with the level of certainty associated with the estimates
        and may be subclassified based on project maturity and/or characterized by their economic status.

    UNDISCOVERED PETROLEUM INITIALLY-IN-PLACE is that quantity of petroleum estimated, as of a given date, to be
    contained within accumulations yet to be discovered.

        PROSPECTIVE RESOURCES are those quantities of petroleum estimated, as of a given date, to be potentially
        recoverable from undiscovered accumulations by application of future development projects. Prospective Resources
        have both an associated chance of discovery and a chance of development. Prospective Resources are further
        subdivided in accordance with the level of certainty associated with recoverable estimates assuming their discovery
        and development and may be sub-classified based on project maturity.

    UNRECOVERABLE is that portion of Discovered or Undiscovered Petroleum Initially-in-Place quantities which is
    estimated, as of a given date, not to be recoverable by future development projects. A portion of these quantities may
    become recoverable in the future as commercial circumstances change or technological developments occur; the
    remaining portion may.never be recovered due to physical/chemical constraints represented by subsurface interaction of
    fluids and reservoir rocks.

Estimated Ultimate Recovery (EUR) is not a resources category, but a term that may be applied to any accumulation or group
of accumulations (discovered or undiscovered) to define those quantities of petroleum estimated, as of a given date, to be
potentially recoverable under defined technical and commercial conditions plus those quantities already produced (total of
recoverable resources).




                                                                                                        Definitions - Page 2 of 10
    Case
     19-12417-mew
         9:19-bk-11573-MB
                     Doc 52-2
                            DocFiled
                                283 08/15/19
                                     Filed 09/26/19
                                               EnteredEntered
                                                       08/15/19
                                                              09/26/19
                                                                16:15:45
                                                                       13:55:11
                                                                           Exhibit Desc
                                                                                   B
                             Main Document
                                       Pg 8 of 23
                                               Page 28 of 55
                 NeTHeRLAND,seweLL
                 & ASSOCIATES, INC.



          PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                          Excerpted from the Petroleum Resources Management System Approved by
                           the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

1.2 Project-Based Resource·s Evaluations
The resources evaluation process consists of identifying a recovery project, or projects, associated with a petroleum
accumulation(s), estimating the quantities of Petroleum Initially-in-Place, estimating that portion of those in-place quantities
that can be recovered by each project, and classifying the project(s) based on its maturity status or chance of commerciality.

This concept of a project-based classification system is further clarified by examining the primary data sources contributing to
an evaluation of net recoverable resources (see Figure 1-2) that may be described as follows:


                             RESERVOIR                                                 PROJECT
                            (in-place volumes)                                    (production/cash flow)


                                                            Entitlement


                                                          PROPERTY
                                                    (ownership/contract terms)

                                          Figure 1-2: Resources Evaluation Data Sources.


•   The Reservoir (accumulation): Key attributes include the types and quantities of Petroleum Initially-in-Place and the fluid
    and rock properties that affect petroleum recovery.

•   The Project: Each project applied to a specific reservoir development generates a unique production and cash flow
    schedule. The time integration of these schedules taken to the project's technical, economic, or contractual limit defines
    the estimated recoverable resources and associated future net cash flow projections for each project. The ratio of EUR to
    Total Initially-in-Place quantities defines the ultimate recovery efficiency for the development project(s). A project may be
    defined at various levels and stages of maturity; it may include one or many wells and associated production and
    processing facilities. One project may develop many reservoirs, or many projects may be applied to one reservoir.

•   The Property (lease or license area): Each property may have unique associated contractual rights and obligations
    including the fiscal terms. Such information allows definition of each participant's share of produced quantities
    (entitlement) and share of investments, expenses, and revenues for each recovery project and the reservoir to which it is
    applied. One property may encompass many reservoirs, or one reservoir may span several different properties. A
    property may contain both discovered and undiscovered accumulations.

In context of this data relationship, "project" is the primary element considered in this resources classification, and net
recoverable resources are the incremental quantities derived from each project. Project represents the link between the
petroleum accumulation and the decision-making process. A project may, for example, constitute the development of a single
reservoir or field, or an incremental development for a producing field, or the integrated development of several fields and
associated facilities with a common ownership. In general, an individual project will represent the level at which a decision is
made whether or not to proceed (i.e., spend more money) and there should be an associated range of estimated recoverable
quantities for that project.

An accumulation or potential accumulation of petroleum may be subject to several separate and distinct projects that are at
different stages of exploration or development. Thus, an accumulation may have recoverable quantities in several resource
classes simultaneously.

In order to assign recoverable resources of any class, a development plan needs to be defined consisting of one or more
projects. Even for Prospective Resources, the estimates of recoverable quantities must be stated in terms of the sales
products derived from a development program assuming successful discovery and commercial development. Given the major
uncertainties involved at this early stage, the development program will not be of the detail expected in later stages of maturity.
In most cases, recovery efficiency may be largely based on analogous projects. In-place quantities for which a feasible project
cannot be defined using current, or reasonably forecast improvements in, technology are classified as Unrecoverable.

Not all technically feasible development plans will be commercial. The commercial viability of a development project is
dependent on a forecast of the conditions that will exist during the time period encompassed by the project's activities (see

                                                                                                             Definitions - Page 3 of 10
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                   Pg 9 of 23
                                           Page 29 of 55




          PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                          Excerpted from the Petroleum Resources Management System Approved by
                           the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

Comme"rcial Evaluations, section 3.1 ). "Conditions" include ·technological, economic, legal, environmental, social,· and
governmental factors. While economic factors can be summarized as forecast costs and product prices, the underlying
influences include, but are not limited to, market conditions, transportation and processing infrastructure, fiscal terms, and
taxes.

The resource quantities being estimated are those volumes producible from a project as measured according to delivery
specifications at the point of sale or custody transfer (see Reference Point, section 3.2.1 ). The cumulative production from the
evaluation date forward to cessation of production is the remaining recoverable quantity. The sum of the associated annual
net cash flows yields the estimated future net revenue. When the cash flows are discounted according to a defined discount
rate and time period, the summation of the discounted cash flows is termed net present value (NPV) of the project (see
Evaluation and Reporting Guidelines, section 3.0).

The supporting data, analytical processes, and assumptions used in an evaluation should be documented in sufficient detail to
allow an independent evaluator or auditor to clearly understand the basis for estimation and categorization of recoverable
quantities and their classification.

2.0 Classification and Categorization Guidelines

2.1 Resources Classification
The basic classification requires establishment of criteria for a petroleum discovery and thereafter the distinction between
commercial and sub-commercial projects in known accumulations (and hence between Reserves and Contingent Resources).

2.1.1 Determination of Discovery Status
A discovery is one petroleum accumulation, or several petroleum accumulations collectively, for which one or several
exploratory wells have established through testing, sampling, and/or logging the existence of a significant quantity of
potentially moveable hydrocarbons.

In this context, "significant" implies that there is evidence of a sufficient quantity of petroleum to justify estimating the in-place
volume demonstrated by the well(s) and for evaluating the potential for economic recovery. Estimated recoverable quantities
within such a discovered (known) accumulation(s) shall initially be classified as Contingent Resources pending definition of
projects with sufficient chance of commercial development to reclassify all, or a portion, as Reserves. Where in-place
hydrocarbons are identified but are not considered currently recoverable, such quantities may be classified as Discovered
Unrecoverable, if considered appropriate for resource management purposes; a portion of these quantities may become
recoverable resources in the future as commercial circumstances change or technological developments occur.

2.1.2 Determination of Commerciality
Discovered recoverable volumes (Contingent Resources) may be considered commercially producible, and thus Reserves, if
the entity claiming commerciality has demonstrated firm intention to proceed with development and such intention is based
upon all of the following criteria:

•   Evidence to support a reasonable timetable for development.
•   A reasonable assessment of the future economics of such development projects meeting defined investment and operating
    criteria.
•   A reasonable expectation that there will be a market for all or at least the expected sales quantities of production required
    to justify development.
•   Evidence that the necessary production and transportation facilities are available or can be made available.
•   Evidence that legal, contractual, environmental and other social and economic concerns will allow for the actual
    implementation of the recovery project being evaluated.

To be included in the Reserves class, a project must be sufficiently defined to establish its commercial viability. There must be
a reasonable expectation that all required internal and external approvals will be forthcoming, and there is evidence of firm
intention to proceed with development within a reasonable time frame. A reasonable time frame for the initiation of
development depends on the specific circumstances and varies according to the scope of the project. While 5 years is
recommended as a benchmark, a longer time frame could be applied where, for example, development of economic projects
are deferred at the option of the producer for, among other things, market-related reasons, or to meet contractual or strategic
objectives. In all cases, the justification for classification as Reserves should be clearly documented.

                                                                                                                Definitions - Page 4 of 10
    Case
     19-12417-mew
         9:19-bk-11573-MB
                     Doc 52-2
                            DocFiled
                                283 08/15/19
                                     Filed 09/26/19
                                               EnteredEntered
                                                       08/15/19
                                                              09/26/19
                                                                16:15:45
                                                                       13:55:11
                                                                           Exhibit Desc
                                                                                   B
                             Main Document
                                      Pg 10 of Page
                                               23 30 of 55




          PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                          Excerpted from the Petroleum Resources Management System Approved by
                           the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

To be included in the Reserves class, there must be a high confidence in the commercial prodLicibility of the reservoir as
supported by actual production or formation tests. In certain cases, Reserves may be assigned on the basis of well logs
and/or core analysis that indicate that the subject reservoir is hydrocarbon-bearing and is analogous to reservoirs in the same
area that are producing or have demonstrated the ability to produce on formation tests.

2.2 Resources Categorization
The horizontal axis in the Resources Classification (Figure 1.1) defines the range of uncertainty in estimates of the quantities
of recoverable, or potentially recoverable, petroleum associated with a project. These estimates include both technical and
commercial uncertainty components as follows:

•   The total petroleum remaining within the accumulation (in-place resources).
•   That portion of the in-place petroleum that can be recovered by applying a defined development project or projects.
•   Variations in the commercial conditions that may impact the quantities recovered and sold (e.g., market availability,
    contractual changes).

Where commercial uncertainties are such that there is significant risk that the complete project (as initially defined) will not
proceed, it is advised to create a separate project classified as Contingent Resources with an appropriate chance of
commerciality.

2.2.1 Range of Uncertainty
The range of uncertainty of the recoverable and/or potentially recoverable volumes may be represented by either deterministic
scenarios or by a probability distribution (see Deterministic and Probabilistic Methods, section 4.2).

When the range of uncertainty is represented by a probability distribution, a low, best, and high estimate shall be provided
such that:

•   There should be at least a 90% probability (P90) that the quantities actually recovered will equal or exceed the low
    estimate.
•   There should be at least a 50% probability (P50} that the quantities actually recovered will equal or exceed the best
    estimate.
•   There should be at least a 10% probability (P10) that the quantities actually recovered will equal or exceed the high
    estimate.

When using the deterministic scenario method, typically there should also be low, best, and high estimates, where such
estimates are based on qualitative assessments of relative uncertainty using consistent interpretation guidelines. Under the
deterministic incremental (risk-based} approach, quantities at each level of uncertainty are estimated discretely and separately
(see Category Definitions and Guidelines, section 2.2.2).

These same approaches to describing uncertainty may be applied to Reserves, Contingent Resources, and Prospective
Resources. While there may be significant risk that sub-commercial and undiscovered accumulations will not achieve
commercial production, it is useful to cons.icier the range of potentially .recoverable quantities independently of such a risk or
consideration of the resource class to which the quantities will be assigned.

2.2.2 Category Definitions and Guidelines
Evaluators may assess recoverable quantities and categorize results by uncertainty using the deterministic incremental (risk-
based) approach, the deterministic scenario (cumulative} approach, or probabilistic methods (see "2001 Supplemental
Guidelines," Chapter 2.5). In many cases, a combination of approaches is used.

Use of consistent terminology (Figure 1.1) promotes clarity in communication of evaluation results. For Reserves, the general
cumulative terms low/best/high estimates are denoted as 1P/2P/3P, respectively. The associated incremental quantities are
termed Proved, Probable and Possible. Reserves are a subset of, and must be viewed within context of, the complete
resources classification system. While the categorization criteria are proposed specifically for Reserves, in most cases, they
can be equally applied to Contingent and Prospective Resources conditional upon their satisfying the criteria for discovery
and/or development.




                                                                                                            Definitions - Page 5 of 10
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                  Pg 11 of Page
                                           23 31 of 55
t:BA"U           Nl!THl!RLAND, S
                               . l!Wl!LL
                 & ASSOCIATES, INC.



         PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                         Excerpted from the Petroleum Resources Management System Approved by
                          the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

For Contingent Resources, the general cumulative terms low/best/high estimates are denoted as 1C/2C/3C respectively. For
Prospective Resources, the general cumulative terms low/best/high estimates still apply. No specific terms are defined for
incremental quantities within Contingent and Prospective Resources.

Without new technical information, there should be no change in the distribution of technically recoverable volumes and their
categorization boundaries when conditions are satisfied sufficiently to reclassify a project from Contingent Resources to
Reserves. All evaluations require application of a consistent set of forecast conditions, including assumed future costs and
prices, for both classification of projects and categorization of estimated quantities recovered by each project (see Commercial
Evaluations, section 3.1 ).

Based on additional data and updated interpretations that indicate increased certainty, portions of Possible and Probable
Reserves may be re-categorized as Probable and Proved Reserves.

Uncertainty in resource estimates is best communicated by reporting a range of potential results. However, if it is required to
report a single representative result, the "best estimate" is considered the most realistic assessment of recoverable quantities.
It is generally considered to represent the sum of Proved and Probable estimates (2P) when using the deterministic scenario
or the probabilistic assessment methods. It should be noted that under the deterministic incremental (risk-based) approach,
discrete estimates are made for each category, and they should not be aggregated without due consideration of their
associated risk (see "2001 Supplemental Guidelines," Chapter 2.5).


                             Table 1: Recoverable Resources Classes and Sub-Classes

  Class/Sub-Class                  Definition                                                 Guidelines
 Reserves              Reserves are those quantities of       Reserves must satisfy four criteria: they must be discovered, recoverable,
                       petroleum anticipated to be            commercial, and remaining based on the development project(s) applied.
                       commercially recoverable by            Reserves are further subdivided in accordance with the level of certainty
                       application of development projects    associated with the estimates and may be sub-classified based on project
                       to known accumulations from a          maturity and/or characterized by their development and production status.
                       given date forward under defined
                       conditions.                            To be included in the Reserves class, a project must be sufficiently defined
                                                              to establish its commercial viability.    There must be a reasonable
                                                              expectation that all required internal and external approvals will be
                                                              forthcoming, and there is evidence of firm intention to proceed with
                                                              development within a reasonable time frame.

                                                              A reasonable time frame for the initiation of development depends on the
                                                              specific circumstances and varies according to the scope of the project.
                                                              While 5 years is recommended as a benchmark, a longer time frame could
                                                              be applied where, for example, development of economic projects are
                                                              deferred at the option of the producer for, among other things, market-
                                                              related reasons, or to meet contractual or strategic objectives. In all cases,
                                                              the justification for classification as Reserves should be clearly
                                                              documented.

                                                              To be included in the Reserves class, there must be a high confidence in
                                                              the commercial producibility of the reservoir as supported by actual
                                                              production or formation tests. In certain cases, Reserves may be assigned
                                                              on the basis of well logs and/or core analysis that indicate_that the subject
                                                              reservoir is hydrocarbon-bearing and is analogous to reservoirs in the
                                                              same area that are producing or have demonstrated the ability to produce
                                                              on formation tests.
 On Production         The development project is currently   The key criterion is that the project is receiving income from sales, rather
                       producing and selling petroleum to     than the approved development project necessarily being complete. This
                       market.                                is the point at which the project "chance of commerciality" can be said to
                                                              be 100%.

                                                              The project "decision gate" is the decision to initiate commercial production
                                                              from the project.



                                                                                                                     Definitions - Page 6 of 10
  Case
   19-12417-mew
       9:19-bk-11573-MB
                   Doc 52-2
                          DocFiled
                              283 08/15/19
                                   Filed 09/26/19
                                             EnteredEntered
                                                     08/15/19
                                                            09/26/19
                                                              16:15:45
                                                                     13:55:11
                                                                         Exhibit Desc
                                                                                 B
                           Main Document
                                    Pg 12 of Page
                                             23 32 of 55




          PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                       Excerpted from the Petroleum Resources Management System Approved by
                        the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

 Class/Sub-Class                 Definition                                                  Guidelines
Approved for        All necessary approvals have been       At this point, it must be certain that the development project is going
Development         obtained, capital funds have been       ahead. The project must not be subject to any contingencies such as
                    committed, and implementation of        outstanding regulatory approvals or sales contracts. Forecast capital
                    the development project is under        expenditures should be included in the reporting entity's current or
                    way.                                    following year's approved budget.

                                                            The project "decision gate" is the decision to start investing capital in the
                                                            construction of production facilities and/or drilling development wells.
Justified for       Implementation of the development       In order to move to this level of project maturity, and hence have reserves
Development         project is justified on the basis of    associated with it, the development project must be commercially viable at
                    reasonable forecast commercial          the time of reporting, based on the reporting entity's assumptions of future
                    conditions at the time of reporting,    prices, costs, etc. ("forecast case") and the specific circumstances of the
                    and there are reasonable                project. Evidence of a firm intention to proceed with development within a
                    expectations that all necessary         reasonable time frame will be sufficient to demonstrate commerciality.
                    approvals/contracts will be obtained.   There should be a development plan in sufficient detail to support the
                                                            assessment of commerciality and a reasonable expectation that any
                                                            regulatory approvals or sales contracts required prior to project
                                                            implementation will be forthcoming. Other than such approvals/contracts,
                                                            there should be no known contingencies that could preclude the
                                                            development from proceeding within a reasonable timeframe (see
                                                            Reserves class).

                                                            The project "decision gate" is the decision by the reporting entity and its
                                                            partners, if any, that the project has reached a level of technical and
                                                            commercial maturity sufficient to justify proceeding with development at
                                                            that point in time.
Contingent          Those quantities of petroleum           Contingent Resources may include, for example, projects for which there
Resources           estimated, as of a given date, to be    are currently no viable markets, or where commercial recovery is
                    potentially recoverable from known      dependent on technology under development, or where evaluation of the
                    accumulations by application of         accumulation is insufficient to clearly assess commerciality. Contingent
                    development projects, but which are     Resources are further categorized in accordance with the level of certainty
                    not currently considered to be          associated with the estimates and may be sub-classified based on project
                    commercially recoverable due to         maturity and/or characterized by their economic status.
                    one or more contingencies.
Development         A discovered accumulation where         The project is seen to have reasonable potential for eventual commercial
Pending             project activities are ongoing to       development, to the extent that further data acquisition (e.g. drilling,
                    justify commercial development in       seismic data) and/or evaluations are currently ongoing with a view to
                    the foreseeable future.                 confirming that the project is commercially viable and providing the basis
                                                            for selection of an appropriate development plan.               The critical
                                                            contingencies have been identified and are reasonably expected to be
                                                            resolved within a reasonable time frame.          Note that disappointing
                                                            appraisal/evaluation results could lead to a re-classification of the project
                                                            to "On Hold" or "Not Viable" status.

                                                            The project "decision gate" is the decision to undertake further data
                                                            acquisition and/or studies designed to move the project to a level of
                                                            technical and commercial maturity at which a decision can be made to
                                                            proceed with development and production.
Development         A discovered accumulation where         The project is seen to have potential for eventual commercial
Unclarified or on   project activities are on hold and/or   development, but further appraisal/evaluation activities are on hold
Hold                where justification as a commercial     pending the removal of significant contingencies external to the project, or
                    development may be subject to           substantial further appraisal/evaluation activities are required to clarify the
                    significant delay.                      potential for eventual commercial development. Development may be
                                                            subject to a significant time delay. Note that a change in circumstances,
                                                            such that there is no longer a reasonable expectation that a critical
                                                            contingency can be removed in the foreseeable future, for example, could
                                                            lead to a reclassification of the project to "Not Viable" status.

                                                            The project "decision gate" is the decision to either proceed with additional
                                                            evaluation designed to clarify the potential for eventual commercial
                                                            development or to temporarily suspend or delay further activities pending
                                                            resolution of external contingencies.

                                                                                                                    Definitions - Page 7 of 10
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                  Pg 13 of Page
                                           23 33 of 55




           PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                        Excerpted from the Petroleum Resources Management System Approved by
                         the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

Class/Sub-Class                    Definition                                                  Guidelines
Development Not       A discovered accumulation for which      The project is not seen to have potential for eventual commercial
Viable                there are no current plans to            development at the time of reporting, but the theoretically recoverable
                      develop or to acquire additional data    quantities are recorded so that the potential opportunity will be recognized
                      at the time due to limited production    in the event of a major change in technology or commercial conditions.
                      potential.
                                                               The project "decision gate" is the decision not to undertake any further
                                                               data acquisition or studies on the project for the foreseeable future.
Prospective           Those quantities of petroleum which      Potential accumulations are evaluated according to their chance of
Resources             are estimated, as of a given date, to    discovery and, assuming a discovery, the estimated quantities that would
                      be potentially recoverable from          be recoverable under defined development projects. It is recognized that
                      undiscovered accumulations.              the development programs will be of significantly less detail and depend
                                                               more heavily on analog developments in the earlier phases of exploration.
Prospect              A project associated with a potential    Project activities are focused on assessing the chance of discovery and,
                      accumulation that is sufficiently well   assuming discovery, the range of potential recoverable quantities under a
                      defined to represent a viable drilling   commercial development program.
                      target.
                                                                                                            ..
Lead                  A project associated with a potential    Project activities are focused on acqumng additional data and/or
                      accumulation that is currently poorly    undertaking further evaluation designed to confirm whether or not the lead
                      defined and requires more data           can be matured into a prospect. Such evaluation includes the assessment
                      acquisition and/or evaluation in         of the chance of discovery and, assuming discovery, the range of potential
                      order to be classified as a prospect.    recovery under feasible development scenarios.
Play                  A project associated with a              Project activities are focused on acquiring additional data and/or
                      prospective trend of potential           undertaking further evaluation designed to define specific leads or
                      prospects, but which requires more       prospects for more detailed analysis of their chance of discovery and,
                      data acquisition and/or evaluation in    assuming discovery, the range of potential recovery under hypothetical
                      order to define specific leads or        development scenarios.
                      prospects.



                                 Table 2: Reserves Status Definitions and Guidelines

       Status                      Definition                                                 Guidelines
Developed              Developed Reserves are expected         Reserves are considered developed only after the necessary equipment
Reserves               quantities to be recovered from         has been installed, or when the costs to do so are relatively minor
                       existing wells and facilities.          compared to the cost of a well. Where required facilities become
                                                               unavailable, it may be necessary to reclassify Developed Reserves as
                                                               Undeveloped. Developed Reserves may be further sub-classified as
                                                               Producing or Non-Producing.
Developed Producing    Developed Producing Reserves            Improved recovery reserves are considered producing only after the
Reserves               are expected to be recovered from       improved recovery project is in operation.
                       completion intervals that are open
                       and producing at the time of the
                       estimate.
Developed Non-         Developed Non-Producing                 Shut-in Reserves are expected to be recovered from (1) completion
Producing Reserves     Reserves include shut-in and            intervals which are open at the time of the estimate but which have not yet
                       behind-pipe Reserves.                   started producing, (2) wells which were shut-in for market conditions or
                                                               pipeline connections, or (3) wells not capable of production for mechanical
                                                               reasons. Behind-pipe Reserves are expected to be recovered from zones
                                                               in existing wells which will require additional completion work or future re-
                                                               completion prior to start of production.

                                                               In all cases, production can be initiated or restored with relatively low
                                                               expenditure compared to the cost of drilling a new well.




                                                                                                                     Definitions - Page 8 of 10
 Case
  19-12417-mew
      9:19-bk-11573-MB
                  Doc 52-2
                         DocFiled
                             283 08/15/19
                                  Filed 09/26/19
                                            EnteredEntered
                                                    08/15/19
                                                           09/26/19
                                                             16:15:45
                                                                    13:55:11
                                                                        Exhibit Desc
                                                                                B
                          Main Document
                                   Pg 14 of Page
                                            23 34 of 55
tlSA!I         NI!. THl!RLAND, Sl!Wl!LL
               & ASSOCIATES, INC.



       PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                       Excerpted from the Petroleum Resources Management System Approved by
                        the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

     Status                      Definition                                                Guidelines
Undeveloped           Undeveloped Reserves are             (1) from new wells on undrilled acreage in known accumulations, (2) from
Reserves              quantities expected to be            deepening existing wells to a different (but known) reservoir, (3) from infill
                      recovered through future             wells that will increase recovery, or (4) where a relatively large expenditure
                      investments:                         (e.g. when compared to the cost of drilling a new well) is required to (a)
                                                           recomplete an existing well or (b) install production or transportation
                                                           facilities for primary or improved recovery projects.



                             Table 3: Reserves Category Definitions and Guidelines


    Category                     Definition                                                Guidelines
Proved Reserves       Proved Reserves are those            If deterministic methods are used, the term reasonable certainty is
                      quantities of petroleum, which by    intended to express a high degree of confidence that the quantities will be
                      analysis of geoscience and           recovered. If probabilistic methods are used, there should be at least a
                      engineering data, can be estimated   90% probability that the quantities actually recovered will equal or exceed
                      with reasonable certainty to be      the estimate.
                      commercially recoverable, from a
                      given date forward, from known       The area of the reservoir considered as Proved includes (1) the area
                      reservoirs and under defined         delineated by drilling and defined by fluid contacts, if any, and (2) adjacent
                      economic conditions, operating       undrilled portions of the reservoir that can reasonably be judged as
                      methods, and government              continuous with it and commercially productive on the basis of available
                      regulations.                         geoscience and engineering data.

                                                           In the absence of data on fluid contacts, Proved quantities in a reservoir
                                                           are limited by the lowest known hydrocarbon (LKH) as seen in a well
                                                           penetration unless otherwise indicated by definitive geoscience,
                                                           engineering, or performance data. Such definitive information may include
                                                           pressure gradient analysis and seismic indicators. Seismic data alone
                                                           may not be sufficient to define fluid contacts for Proved reserves (see
                                                           "2001 Supplemental Guidelines," Chapter 8).

                                                           Reserves in undeveloped locations may be classified as Proved provided
                                                           that:
                                                           • The locations are in undrilled areas of the reservoir that can be judged
                                                              with reasonable certainty to be commercially productive.
                                                           • Interpretations of available geoscience and engineering data indicate
                                                              with reasonable certainty that the objective formation is laterally
                                                              continuous with drilled Proved locations.

                                                           For Proved Reserves, the recovery efficiency applied to these reservoirs
                                                           should be defined based on a range of possibilities supported by analogs
                                                           and sound engineering judgment considering the characteristics of the
                                                           Proved area and the applied development program.
Probable             Probable Reserves are those           It is equally likely that actual remaining quantities recovered will be greater
Reserves             additional Reserves which analysis    than or less than the sum of the estimated Proved plus Probable Reserves
                     of geoscience and engineering data    (2P). In this context, when probabilistic methods are used, there should
                     indicate are less likely to be        be at least a 50% probability that the actual quantities recovered will equal
                     recovered than Proved Reserves        or exceed the 2P estimate.
                     but more certain to be recovered
                     than Possible Reserves.               Probable Reserves may be assigned to areas of a reservoir adjacent to
                                                           Proved where data control or interpretations of available data are less
                                                           certain. The interpreted reservoir continuity may not meet the reasonable
                                                           certainty criteria.

                                                           Probable estimates also include incremental recoveries associated with
                                                           project recovery efficiencies beyond that assumed for Proved.




                                                                                                                   Definitions - Page 9 of 10
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                  Pg 15 of Page
                                           23 35 of 55
NSA
  . ~.:        Nl!THERLAND,   s.

           , & ASSOCIATES, INC.
                                   l!WELL




       PETROLEUM RESERVES AND RESOURCES CLASSIFICATION AND DEFINITIONS
                     Excerpted from the Petroleum Resources Management System Approved by
                      the Society of Petroleum Engineers (SPE) Board of Directors, March 2007

    Category                       Definition                                             Guidelines
Possible            Possible Reserves are those            The total quantities ultimately recovered from the project have a low
Reserves            additional reserves which analysis     probability to exceed the sum of Proved plus Probable plus Possible (3P},
                    of geoscience and engineering data     which is equivalent to the high estimate scenario. When probabilistic
                    indicate are less likely to be         methods are used, there should be at least a 10% probability that the
                    recoverable than Probable              actual quantities recovered will equal or exceed the 3P estimate.
                    Reserves.
                                                           Possible Reserves may be assigned to areas of a reservoir adjacent to
                                                           Probable where data control and interpretations of available data are
                                                           progressively less certain. Frequently, this may be in areas where
                                                           geoscience and engineering data are unable to clearly define the area and
                                                           vertical reservoir limits of commercial production from the reservoir by a
                                                           defined project.

                                                           Possible estimates also include incremental quantities associated with
                                                           project recovery efficiencies beyond that assumed for Probable.
Probable and        (See above for separate criteria for   The 2P and 3P estimates may be based on reasonable alternative
Possible            Probable Reserves and Possible         technical and commercial interpretations within the reservoir and/or
Reserves            Reserves.}                             subject project that are clearly documented, including comparisons to
                                                           results in successful similar projects.

                                                           In conventional accumulations, Probable and/or Possible Reserves may
                                                           be assigned where geoscience and engineering data identify directly
                                                           adjacent portions of a reservoir within the same accumulation that may be
                                                           separated from Proved areas by minor faulting or other geological
                                                           discontinuities and have not been penetrated by a wellbore but are
                                                           interpreted to be in communication with the known (Proved} reservoir.
                                                           Probable or Possible Reserves may be assigned to areas that are
                                                           structurally higher than the Proved area. Possible (and in some cases,
                                                           Probable} Reserves may be assigned to areas that are structurally lower
                                                           than the adjacent Proved or 2P area.

                                                           Caution should be exercised in assigning Reserves to adjacent reservoirs
                                                           isolated by major, potentially sealing, faults until this reservoir is
                                                           penetrated and evaluated as commercially productive. Justification for
                                                           assigning Reserves in such cases should be clearly documented.
                                                           Reserves should not be assigned to areas that are clearly separated from
                                                           a known accumulation by non-productive reservoir (i.e., absence of
                                                           reservoir, structurally low reservoir, or negative test results}; such areas
                                                           may contain Prospective Resources.

                                                           In conventional accumulations, where drilling has defined a highest known
                                                           oil (HKO} elevation and there exists the potential for an associated gas
                                                           cap, Proved oil Reserves should only be assigned in the structurally higher
                                                           portions of the reservoir if there is reasonable certainty that such portions
                                                           are initially above bubble point pressure based on documented
                                                           engineering analyses. Reservoir portions that do not meet this certainty
                                                           may be assigned as Probable and Possible oil and/or gas based on
                                                           reservoir fluid properties and pressure gradient interpretations.




                  The 2007 Petroleum Resources Management System can be viewed in its entirety at
                            http://www.spe.org!spe-applspe/industrylreserves/prms.htm.


                                                                                                                Definitions - Page 10 of 10
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 52-2
                        DocFiled
                            283 08/15/19
                                 Filed 09/26/19
                                           EnteredEntered
                                                   08/15/19
                                                          09/26/19
                                                            16:15:45
                                                                   13:55:11
                                                                       Exhibit Desc
                                                                               B
                         Main Document
                                  Pg 16 of Page
                                           23 36 of 55




                                  TABLE OF CONTENTS




    SUMMARY PROJECTIONS OF RESERVES AND REVENUE

       Total Proved Reserves                                                 I
       Proved Developed Producing Reserves                                  II
       Proved Developed Non-Producing Reserves                             Ill
       Proved Undeveloped Reserves                                        IV
       Probable Reserves                                                   V
       Possible Reserves                                                  VI


   RESERVES AND ECONOMICS

      Belridge North Field                                                 1
      Richfield Field                                                     25
      Santa Maria Valley Area                                             44
                              Case
                               19-12417-mew
                                   9:19-bk-11573-MB
                                               Doc 52-2
                                                      DocFiled
                                                          283 08/15/19
                                                               Filed 09/26/19
                                                                         EnteredEntered
                                                                                 08/15/19
                                                                                        09/26/19
                                                                                          16:15:45
                                                                                                 13:55:11
                                                                                                     Exhibit Desc
                                                                                                             B
                                                       Main Document
                                                                Pg 17 of Page
                                                                         23 37 of 55



                                                                                               SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                         AS OF DECEMBER 31, 2016                                                                                     CERTAIN PROPERTIES
       HVI CAT CANYON, INC. INTEREST                                                                                                                                                                               LOCATED IN CALIFORNIA
                                                                                                         TOTAL PROVED RESERVES



          PERIOD             ~RQSS RESERVES                                           ~!;T RESEB~ES                                           A~l;;RA~E PRIQ~§                                    ~BQSS REVE!:!1!.IE
          ENDING            OIL          GAS                      OIL              NGL             GAS               EQUIV             OIL           NGL         GAS            OIL              NGL            GAS                   TOTAL
           M:Q:Y__         MBBL         MMQF                     M~~L              M~eL           MMQF               MBQ!;           ilBBL          ilBBL      ilMQF            Mi                Mi               Mi             ______Mi
         12-31-2017             735.4              97.5                  627.9           0.0              36.9            634.0        41.57             0.00         3.416        24,671.9            0.0               126.2         24,798.0
         12-31-2018             871.8             124.0                  752.4           0.0              49.9            760.8        42.29             0.00         3.116        31,818.1            0.0               155.5         31,973.6
         12-31-2019             967.6             169.8                  835.8           0.0              57.3            845.4        41.99             0.00         2.843        35,099.3            0.0               162.9         35,262.1
         12-31-2020           1,036.0             217.1                  894.2           0.0              59.8            904.2        42.20             0.00         2.753        37,735.0            0.0               164.6         37,899.6
         12-31-2021           1,124.4             321.6                  956.6           0.0              70.0            968.3        42.89             0.00         2.646        41,030.3            0.0               185.4         41,215.6
         12-31-2022           1,170.4             338.7                  993.9           0.0              72.4          1,006.0        42.95             0.00         2.633        42,693.7            0.0               190.6         42,884.2
         12-31-2023           1,332.2             345.5                1,128.9           0.0              89.4          1,143.8        43.23             0.00         2.744        48,797.2            0.0               245.4         49,042.6
         12-31-2024           1,423.8             359.8                1,202.4           0.0             105.0          1,220.0        43.34             0.00         2.803        52,111.8            0.0               294.3         52,406.2
         12-31-2025           1,441.7             323.9                1,211.7           0.0              93.4          1,227.3        43.33             0.00         2.798        52,501.5            0.0               261.4         52,763.0
         12-31-2026           1,316.2             298.0                1,108.2           0.0              85.5          1,122.4        43.23             0.00         2.795        47,906.7            0.0               238.9         48,145.6
         12-31-2027           1,215.5             276.3                1,024.9           0.0              79.1          1,038.1        43.13             0.00         2.795        44,209.7            0.0               220.9         44,430.7
         12-31-2028           1,128.9             257.4                  953.2           0.0              73.7            965.5        43.05             0.00         2.795        41,033.0            0.0               206.1         41,239.1
         12-31-2029           1,053.6             240.0                  890.9           0.0              68.9            902.4        42.96             0.00         2.797        38,276.9            0.0               192.6         38,469.4
         12-31-2030             986.7             222.6                  835.5           0.0              63.9            846.2        42.89             0.00         2.796        35,832.9            0.0               178.7         36,011.6
         12-31-2031             902.0             206.0                  767.4           0.0              59.4            777.3        42.66             0.00         2.798        32,735.9            0.0               166.3         32,902.2
         12-31-2032             819.7             172.0                  701.6           0.0              55.0            710.7        42.36             0.00         2.846        29,718.3            0.0               156.4         29,874.8
         12-31-2033             747.9             144.7                  643.8           0.0              50.9            652.3        42.08             0.00         2.886        27,091.1            0.0               146.9         27,238.0
         12-31-2034             671.7             101.6                  582.3           0.0              46.0            590.0        41.67             0.00         2.975        24,266.6            0.0               136.7         24,403.3
         12-31-2035             638.6              93.7                  553.6           0.0              43.1            560.8        41 .64            0.00         2.981        23,050.9            0.0               128.5         23,179.4
         12-31-2036             609.6              89.3                  528.4           0.0              41.1            535.2        41.64             0.00         2.981        22,000.0            0.0               122.4         22,122.4

       SUBTOTAL              20,193.7            4,399.6              17,193.9           0.0           1,300.7         17,410.7        42.69             0.00         2.830     732,580.6              0.0              3,680.8       736,261.5
       REMAINING              3,962.3              566.1               3,429.4           0.0             260.8          3,472.9        41.65             0.00         2.981     142,844.2              0.0                777.3       143,621.5
       TOTAL                 24,156.0            4,965.7              20,623.3           0.0           1,561.5         20,883.6        42.52             0.00         2.855     875,424.8              0.0              4,458.2       879,883.0
       CUM PROD             121,976.4           85,356.9
       ULTIMATE             146,132.3           90,322.7


                                                             NET DEDUQTIQNS~PENDIT!,IRES                                               FUT!JRE NET REVEN!.!E
          PERIOD            NUMBER OF                      TAXES             CAPITAL                 OPERATING            !,!NDISCQ!J~TED            DISQOU~Q ~T 1Q.OQQ 0t~                                   PRESENT WQRTH ffiQFILE
          ENDING       ACIIY!; COMP!.!;;IIQ~S     PRODUCTION   ADVALOREM      COST                    EXPENSE          PERIOD           CUM          PERIOD        CUM                                       DISC RATE      CUM PW
           M:!B'__     ~RQSS           NET                 Mi               Mi           Mi              Mi              Mi                  Mi                 Mi            Mi                                 %      ____Mi
         12-31-2017           239        238.4                  0.0              0.0       3,846.2        15,376.5         5,575.3             5,575.3            5,271.4       5,271.4                         8.000                 157,915.4
         12-31-2018           264        263.4                  0.0              0.0       6,045.4        16,714.2         9,214.0            14,789.3            7,954.0      13,225.3                        12.000                 118,027.6
         12-31-2019           281        280.4                  0.0              0.0       9,816.2        17,168.8         8,277.2            23,066.5            6,563.0      19,788.4                        13.000                 110,390.1
         12-31-2020           284        283.4                  0.0              0.0       1,723.0        17,405.2        18,771.5            41,838.0           13,461.9      33,250.3                        15.000                  97,184.2
         12-31-2021           321        320.3                  0.0              0.0      13,999.2        17,757.2         9,459.2            51,297.2            6,045.4      39,295.6                        18.000                  81,464.8
         12-31-2022           341        339.9                  0.0              0.0       8,401.0        18,303.6        16,179.7            67,476.8            9,627.0      48,922.7                        20.000                  73,070.8
         12-31-2023           361        360.3                  0.0              0.0      11,480.8        19,328.8        18,233.0            85,709.8            9,666.5      58,589.2                        25.000                  57,211 .8
         12-31-2024           386        385.1                  0.0              0.0      10,141.8        20,175.5        22,088.9           107,798.7           10,774.3      69,363.5                        30.000                  46,306.3
         12-31-2025           385        384.3                  0.0              0.0           0.0        20,532.2        32,230.8           140,029.4           14,359.1      83,722.6                        35.000                  38,518.8
         12-31-2026           384        383.3                  0.0              0.0           0.0        20,134.7        28,010.9           168,040.3           11,342.4      95,065.0                        40.000                  32,775.2
         12-31-2027           384        383.6                  0.0              0.0           0.0        19,796.2        24,634.4           192,674.7            9,068.1     104,133.1
         12-31-2028           381        380.3                  0.0              0.0           0.0        19,510.3        21,728.8           214,403.5            7,271.3     111,404.3
         12-31-2029           382        381.1                  0.0              0.0           0.0        19,279.7        19,189.7           233,593.3            5,837.8     117,242.1
         12-31-2030           378        377.3                  0.0              0.0           0.0        19,064.8        16,946.8           250,540.1            4,686.8     121,928.9
         12-31-2031           356        354.9                  0.0              0.0           0.0        18,520.6        14,381.6           264,921.7            3,616.5     125,545.5
         12-31-2032           340        339.3                  0.0              0.0           0.0        18,094.4        11,780.4           276,702.1            2,694.9     128,240.4
         12-31-2033           299        298.3                  0.0              0.0           0.0        17,664.4         9,573.6           286,275.6            1,991.2     130,231.5
         12-31-2034           282        281.3                  0.0              0.0           0.0        16,884.9         7,518.5           293,794.1            1,420.5     131,652.0
         12-31-2035           264        263.3                  0.0              0.0           0.0        16,657.2         6,522.3           300,316.4            1,120.2     132,772.2
         12-31-2036           259        258.3                  0.0              0.0           0.0        16,504.0         5,618.4           305,934.8              877.3     133,649.5

       SUBTOTAL                                                 0.0              0.0      65,453.6       364,873.0       305,934.8           305,934.8          133,649.5     133,649.5
       REMAINING                                                0.0              0.0         100.0       125,034.2        18,487.3           324,422.1            2,203.4     135,852.9
--f    TOTAL OF 28.2 YRS                                        0.0              0.0      65,553.6       489,907.2       324,422.1           324,422.1          135,852.9     135,852.9
D)
C"
co    All estimates and exhibits herein are part of this NSAI report and are subject to its parameters and conditions.                                                                        BASED ON HVI PRICE AND COST PARAMETERS
                             Case
                              19-12417-mew
                                  9:19-bk-11573-MB
                                              Doc 52-2
                                                     DocFiled
                                                         283 08/15/19
                                                              Filed 09/26/19
                                                                        EnteredEntered
                                                                                08/15/19
                                                                                       09/26/19
                                                                                         16:15:45
                                                                                                13:55:11
                                                                                                    Exhibit Desc
                                                                                                            B
                                                      Main Document
                                                               Pg 18 of Page
                                                                        23 38 of 55


                                                                                       SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                 AS OF DECEMBER 31, 2016                                                                                              CERTAIN PROPERTIES
     HVI CAT CANYON, INC. INTEREST                                                                                                                                                                                  LOCATED IN CALIFORNIA
                                                                                          PROVED DEVELOPED PRODUCING RESERVES



        PERIOD              GRQ§§ RE§ERVE§                                    NET RE§ERVE§                                                      ti~ERA!:2E PRICES                                  ~RQ§S REVEN!JE
        ENDING             OIL          GAS               OIL             NGL                    GAS               EQUIV                OIL            NGL         GAS           OIL              NGL         GAS                  TOTAL
         M-D-Y            MBBL         MMCF              MBBL             MBBL                  MMCF               MOOE               :&.i§BL         il§§b       ~MCF           MS                ~           MS                ____Mi
       12-31-2017             639.7            76.8             544.5            0.0                   27.8                549.1          41.60             0.00        3.401        21,219.3           0.0              94.5        21 ,313.7
       12-31-2018             614.8            72.7             522.8            0.0                   26.7                527.3          42.45             0.00        3.088        22,192.9           0.0              82.4        22,275.3
       12-31-2019             591.4            69.0             502.6            0.0                   25.7                506.9          41 .99            0.00        2.889        21,105.9           0.0              74.2        21,180.1
       12-31-2020             568.7            65.5             483.0            0.0                   24.7                487.1          41.93             0.00        2.898        20,254.9           0.0              71 .5       20,326.5
       12-31-2021             547.7            62.2             465.0            0.0                   23.7                469.0          42.08             0.00        2.933        19,566.9           0.0              69.7        19,636.6
       12-31-2022             526.5            54.3             446.8            0.0                   21.2                450.3          42.07             0.00        2.939        18,796.1           0.0              62.2        18,858.3
       12-31-2023             507.7            51.3             430.6            0.0                   20.2                434.0          42.07             0.00        2.942        18,117.0           0.0              59.5        18,176.5
       12-31-2024             488.2            47.7             414.0            0.0                   19.1                417.1          42.07             0.00        2.947        17,414.1           0.0              56.2        17,470.3
       12-31-2025             470.7            44.7             399.0            0.0                   18.0                402.0          42.07             0.00        2.949        16,783.8           0.0              53.1        16,836.8
       12-31-2026             454.5            42.8             385.2            0.0                   17.3                388.1          42.06             0.00        2.952        16,201.4           0.0              51 .2       16,252.6
       12-31-2027             438.7            41.0             371.6            0.0                   16.7                374.4          42.06             0.00        2.954        15,629.9           0.0              49.4        15,679.3
       12-31-2028             423.9            39.3             359.1            0.0                   16.1                361.8          42.05             0.00        2.956        15,099.5           0.0              47.7        15,147.2
       12-31-2029             327.8            28.6             276.3            0.0                   11.5                278.2          42.30             0.00        2.950        11,687.1           0.0              34.1        11,721.2
       12-31-2030              76.0             2.6              59.0            0.0                    0.2                 59.0          46.68             0.00        1.007         2,753.7           0.0               0.2         2,753.9
       12-31-2031              73.1             2.3              56.8            0.0                    0.1                 56.8          46.66             0.00        1.007         2,648.7           0.0               0.1         2,648.8
       12-31-2032              63.9             0.1              49.8            0.0                    0.0                 49.8          46.33             0.00        1.007         2,305.2           0.0               0.0         2,305.2
       12-31-2033              57.3             0.0              44.7            0.0                    0.0                 44.7          46.06             0.00        0.000         2,060.6           0.0               0.0         2,060.6
       12-31-2034              55.6             0.0              43.4            0.0                    0.0                 43.4          46.06             0.00        0.000         1,998.8           0.0               0.0         1,998.8
       12-31-2035              54.0             0.0              42.1            0.0                    0.0                 42.1          46.06             0.00        0.000         1,938.8           0.0               0.0         1,938.8
       12-31-2036              52.3             0.0              40.8            0.0                    0.0                 40.8          46.06             0.00        0.000         1,880.7           0.0               0.0         1,880.7

      SUBTOTAL               7,032.4          700.6           5,937.0            0.0                   269.1          5,981.9             42.29             0.00        2.995    249,655.5              0.0              805.8       250,461.3
      REMAINING                  4.3            0.0               3.3            0.0                     0.0              3.3             46.06             0.00        0.000        154.2              0.0                0.0           154.2
      TOTAL                  7,036.7          700.6           5,940.4            0.0                   269.1          5,985.2             42.29             0.00        2.995    249,809.6              0.0              805.8       250,615.4
      CUM PROD              90,183.5       59,399.3
      ULTIMATE              97,220.1       60,099.9


                                                          NET DED!J!:;!(QNS£EXPEND1T!JR~§                                           F!JT!JRE NET R~~N!JE
         PERIOD          NUMBER OF                      TAXE§                 CAPITAL            OPERATING              !JNDl§CQ!J~IEC!            DISCQ!.!NIED AT 1Q.QQQ'l:',                                 eBE§ENT WQRT!::l eRQFILE
         ENDING       ACTI~ CQMeLETION§        PRODUCTION   ADVALOREM          COST               EXPENSE            PERIOD          CUM           PERIOD            CUM                                      DISC RATE         CUM PW
          M:Q:Y___    GROSS       NE!              MS           Mi         ____M}_                     ML_             MS                       MS                 Mi           M~                                "{q     ~
        12-31-2017          175        174.5            0.0             0.0            340.0            14,665.2            6,308.6              6,308.6            6,016.1      6,016.1                         8.000                37,869.1
        12-31-2018          175        174.5            0.0             0.0              0.0            14,619.4            7,656.0             13,964.5            6,644.4     12,660.5                        12:000                33,056.1
        12-31-2019          175        174.5            0.0             0.0              0.0            14,576.5            6,603.6             20,568.2            5,210.4     17,870.9                        13.000                32,032.8
        12-31-2020          175        174.5            0.0             0.0              0.0            14,514.5            5,812.0             26,380.2            4,169.2     22,040.1                        15.000                30,162.4
        12-31-2021          174        173.5            0.0             0.0              0.0            14,472.2            5,164.4             31,544.6            3,368.1     25,408.1                        18.000                27,731.4
        12-31-2022          172        171.5            0.0             0.0              0.0            14,371.3            4,487.0             36,031 .6           2,660.5     28,068.6                        20.000                26,318.9
        12-31-2023          169        168.5            0.0             0.0              0.0            14,328.1            3,848.3             39,879.9            2,074.6     30,143.2                        25.000                23,358.1
        12-31-2024          168        167.5            0.0             0.0              0.0            14,226.8            3,243.5             43,123.4            1,589.8     31,733.1                        30.000                21,018.5
        12-31-2025          164        163.5            0.0             0.0              0.0            14,164.4            2,672.5             45,795.9            1,191.1     32,924.2                        35.000                19,129.4
        12-31-2026          163        162.5            0.0             0.0              0.0            14,126.1            2,126.5             47,922.4              861.9     33,786.1                        40.000                17,575.9
        12-31-2027          163        162.5            0.0             0.0              0.0            14,073.9            1,605.4             49,527.8              591 .8    34,377.9
        12-31-2028          161        160.5            0.0             0.0              0.0            14,039.3            1,107.9             50,635.7              371.7     34,749.6
        12-31-2029          161        160.5            0.0             0.0              0.0            11,082.4              638.7             51,274.4              195.1     34,944.7
        12-31-2030           75         74.5            0.0             0.0              0.0             2,322.7              431.2             51,705.7              119.3     35,064.1
        12-31-2031           73         72.5            0.0             0.0              0.0             2,308.6              340.3             52,045.9               85.6     35,149.7
        12-31-2032           64         63.5            0.0             0.0              0.0             2,035.4              269.8             52,315.7               61.7     35,211.4
        12-31-2033           47         46.5            0.0             0.0              0.0             1,847.0              213.6             52,529.2               44.4     35,255.8
        12-31-2034           47         46.5            0.0             0.0              0.0             1,847.0              151.8             52,681.0               28.7     35,284.5
        12-31-2035           47         46.5            0.0             0.0              0.0             1,847.0               91.8             52,772.8               15.8     35,300.4
        12-31-2036           47         46.5            0.0             0.0              0.0             1,847.0               33.6             52,806.4                5.3     35,305.7

      SUBTOTAL                                          0.0             0.0             340.0          197,314.8           52,806.4             52,806.4           35,305.7     35,305.7
      REMAINING                                         0.0             0.0               0.0              153.9                0.2             52,806.7                0.0     35,305.7
-f
m     TOTAL OF 20.1 YRS                                 0.0             0.0             340.0          197,468.8           52,806.7             52,806.7           35,305.7     35,305.7
O"
co   All estimates and exhibits herein are part of this NSAI report and are subject to its parameters and conditions.
=                                                                                                                                                                                               BASED ON HVI PRICE AND COST PARAMETERS
                             Case
                              19-12417-mew
                                  9:19-bk-11573-MB
                                              Doc 52-2
                                                     DocFiled
                                                         283 08/15/19
                                                              Filed 09/26/19
                                                                        EnteredEntered
                                                                                08/15/19
                                                                                       09/26/19
                                                                                         16:15:45
                                                                                                13:55:11
                                                                                                    Exhibit Desc
                                                                                                            B
                                                      Main Document
                                                               Pg 19 of Page
                                                                        23 39 of 55



                                                                                          SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                    AS OF DECEMBER 31, 2016                                                                                     CERTAIN PROPERTIES
      HVI CAT CANYON, INC. INTEREST                                                                                                                                                                           LOCATED IN CALIFORNIA
                                                                                           PROVED DEVELOPED NON-PRODUCING RESERVES



          PERIOD             !:zR~ S ~SEBVES                                     NET RESERVES                                           AVERA!zE PBIQl;S                                    ~BQSS REVE!:!!!J(;
          ENDING            OIL           GAS               OIL               NGL            GAS                EQUIV            OIL         NGL          GAS            OIL               NGL            GAS               TOTAL
           M-D-Y           MBBL          MMQE              MBBL               MBBL          MMCF                MBQE            SlBBL       ~BBL         SlMQE           MS                MS              MS              __Mi
         12-31-2017             95.7              20.7              83.4            0.0               9.2             84.9        41.40             0.00        3.463         3,452.6           0.0                31.7        3,484.3
         12-31-2018            251.1              51.3             224.8            0.0              23.2            228.7        41.94             0.00        3.148         9,426.7           0.0                73.1        9,499.7
         12-31-2019            291.7              64.8             263.0            0.0              29.4            267.8        41.39             0.00        2.945        10,884.4           0.0                86.5       10,970.9
         12-31-2020            299.9              65.3             271.8            0.0              29.8            276.8        41.30             0.00        2.950        11,227.9           0.0                87.9       11,315.7
         12-31-2021            332.6              76.4             300.6            0.0              35.0            306.5        41.42             0.00        2.981        12,450.8           0.0               104.3       12,555.2
         12-31-2022            387.8              85.3             348.9            0.0              38.9            355.3        41.37             0.00        2.981        14,431.2           0.0               116.0       14,547.2
         12-31-2023            420.0              85.1             375.4            0.0              38.7            381.8        41.34             0.00        2.981        15,515.4           0.0               115.4       15,630.8
         12-31-2024            418.4              82.0             375.0            0.0              37.3            381.2        41.33             0.00        2.981        15,497.9           0.0               111.2       15,609.2
         12-31-2025            406.7              78.2             365.4            0.0              35.6            371.3        41.32             0.00        2.981        15,099.6           0.0               106.0       15,205.6
         12-31-2026            383.3              74.6             344.0            0.0              33.9            349.7        41.33             0.00        2.981        14,220.0           0.0               101.2       14,321.1
         12-31-2027            361.9              71.0             324.5            0.0              32.3            329.9        41.34             0.00        2.981        13,416.5           0.0                96.3       13,512.8
         12-31-2028            342.1              67.6             306.4            0.0              30.7            311.6        41.35             0.00        2.981        12,670.8           0.0                91.6       12,762.4
         12-31-2029            406.3              72.7             361.1            0.0              33.0            366.6        41.29             0.00        2.981        14,911.0           0.0                98.3       15,009.3
         12-31-2030            627.7              91.7             551.6            0.0              41.5            558.5        41.21             0.00        2.981        22,728.8           0.0               123.7       22,852.5
         12-31-2031            600.9              85.8             527.7            0.0              38.9            534.1        41.21             0.00        2.981        21,743.3           0.0               115.8       21,859.2
         12-31-2032            576.3              82.2             505.8            0.0              37.3            512.1        41.20             0.00        2.981        20,841.8           0.0               111.0       20,952.9
         12-31-2033            552.0              78.2             484.1            0.0              35.5            490.1        41.20             0.00        2.981        19,946.6           0.0               105.7       20,052.3
         12-31-2034            528.9              74.3             463.5            0.0              33.6            469.1        41.20             0.00        2.981        19,098.0           0.0               100.3       19,198.3
         12-31-2035            507.6              70.0             444.5            0.0              31.7            449.7        41.20             0.00        2.981        18,313.2           0.0                94.4       18,407.6
         12-31-2036            486.2              66.9             425.5            0.0              30.2            430.5        41.21             0.00        2.981        17,532.6           0.0                90.2       17,622.8

       SUBTOTAL               8,277.3           1,443.9           7,347.1           0.0             655.6          7,456.4        41.30             0.00        2.991    303,409.1              0.0              1,960.6     305,369.7
       REMAINING              3,570.1             425.6           3,083.6           0.0             192.8          3,115.7        41.67             0.00        2.981    128,485.6              0.0                574.7     129,060.3
       TOTAL                 11,847.4           1,869.5          10,430.7           0.0             848.4         10,572.1        41.41             0.00        2.988    431,894.7              0.0              2,535.3     434,430.0
       CUM PROD              31,455.4          25,957.7
       ULTIMATE              43,302.8          27,827.1


                                                             NET DEDUCTIONS/EXPl;NDITURES                                       F!,!TURE N!;I REVE!:!1!,!E
          PERIOD            NUMBER OF                      TAXES              CAPITAL           OPERATING            !JNDIS,QUNTED              rns,QUNTED AT 10.0QQ0t~                                PRESENT WQB!H PROFILE
          ENDING       ACTIVE COMPLETIQ!:!!S      PRODUCTION   ADVALOREM       COST              EXPENSE          PERIOD         CUM            PERIOD          CUM                                   DISC RATE      CUM PW
           M:Q:Y__     GROSS        NET               MS           MS            Mi                 MS              MS            MS               MS                   MS                               ob            __Mi
         12-31-2017           64          63.9             0.0              0.0       3,506.2           711.4          -733.3              -733.3            -744.8       -744.8                         8.000                74,934.3
         12-31-2018           88          87.9             0.0              0.0       4,740.4         2,076.0         2,683.3             1,950.1           2,305.3      1,560.5                        12.000                55,773.5
         12-31-2019           91          90.9             0.0              0.0         631.2         2,390.8         7,948.9             9,899.0           6,250.0      7,810.5                        13,000                52,091.7
         12-31-2020           92          91.9             0.0              0.0         430.0         2,444.6         8,441.2            18,340.2           6,043.9     13,854.4                        15.000                45,712.2
         12-31-2021          111         110.8             0.0              0.0       2,015.7         2,729.1         7,810.3            26,150.5           5,066.0     18,920.4                        18.000                38,089.4
         12-31-2022          123         122.8             0.0              0.0       2,424.6         3,201.4         8,921.2            35,071.7           5,252.1     24,172.4                        20.000                34,001.4
         12-31-2023          126         125.8             0.0              0.0         800.0         3,425.2        11,405.5            46,477.2           6,132.0     30,304.5                        25.000                26,228.6
         12-31-2024          130         129.8             0.0              0.0       1,350.0         3,504.4        10,754.8            57,232.0           5,259.4     35,563.9                        30.000                20,829.1
         12-31-2025          130         129.8             0.0              0.0           0.0         3,520.3        11,685.3            68,917.3           5,202.6     40,766.6                        35.000                16,933.4
         12-31-2026          130         129.8             0.0              0.0           0.0         3,469.1        10,852.0            79,769.4           4,392.3     45,158.9                        40.000                14,031.9
         12-31-2027          130         129.8             0.0              0.0           0.0         3,409.5        10,103.3            89,872.6           3,717.4     48,876.3
         12-31-2028          128         127.8             0.0              0.0           0.0         3,335.1         9,427.3            99,299.9           3,153.3     52,029.6
         12-31-2029          129         128.6             0.0              0.0           0.0         6,208.6         8,800.7           108,100.6           2,676.2     54,705.8
         12-31-2030          211         210.8             0.0              0.0           0.0        14,872.7         7,979.8           116,080.4           2,206.7     56,912.5
         12-31-2031          208         207.8             0.0              0.0           0.0        14,750.9         7,108.3           123,188.6           1,787.1     58,699.6
         12-31-2032          207         206.8             0.0              0.0           0.0        14,677.8         6,275.1           129,463.7           1,434.3     60,133.9
         12-31-2033          205         204.8             0.0              0.0           0.0        14,558.4         5,493.9           134,957.6           1,141.6     61,275.5
         12-31-2034          201         200.8             0.0              0.0           0.0        14,426.5         4,771.8           139,729.4             901 .5    62,177.1
         12-31-2035          199         198.8             0.0              0.0           0.0        14,317.1         4,090.6           143,820.0             702.6     62,879.7
         12-31-2036          194         193.8             0.0              0.0           0.0        14,174.1         3,448.7           147,268.7             538.6     63,418.3

       SUBTOTAL                                           0.0               0.0      15,898.1       142,202.9       147,268.7           147,268.7          63,418.3     63,418.3
~      REMAINING                                          0.0               0.0         100.0       122,135.8         6,824.5           154,093.1             930.3     64,348.6
ll)
       TOTAL OF 28.2 YRS                                  0.0               0.0      15,998.1       264,338.8       154,093.1           154,093.1          64,348.6     64,348.6
C"'
(D
      All estimates and exhibits herein are part of this NSAI report and are subject to its parameters and conditions.
=                                                                                                                                                                                       BASED ON HVI PRICE AND COST PARAMETERS
                            Case
                             19-12417-mew
                                 9:19-bk-11573-MB
                                             Doc 52-2
                                                    DocFiled
                                                        283 08/15/19
                                                             Filed 09/26/19
                                                                       EnteredEntered
                                                                               08/15/19
                                                                                      09/26/19
                                                                                        16:15:45
                                                                                               13:55:11
                                                                                                   Exhibit Desc
                                                                                                           B
                                                     Main Document
                                                              Pg 20 of Page
                                                                       23 40 of 55


                                                                                         SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                    AS OF DECEMBER 31, 2016                                                                                        CERTAIN PROPERTIES
     HVI CAT CANYON, INC. INTEREST                                                                                                                                                                               LOCATED IN CALIFORNIA
                                                                                                PROVED UNDEVELOPED RESERVES



        PERIOD              ~RQSS RESERVES                                       Nfil BESERVES                                              AVEBei~E PRICES                                      ~BQSS REVENUE
        ENDING             OIL          GAS                OIL              NGL               GAS               EQUIV                OIL         NGL         GAS              OIL               NGL         GAS          TOTAL
         M-D-Y            MBBL         MMQF               M~eL              Ml;!BL           MMQF               M!;!QE              SlBBL       ~£BBL       SlMQE             Ml                MS           Mi       ____Mi
       12-31-2017               0.0              0.0               0.0             0.0                0.0                  0.0        49.26              0.00        0.000             0.0          0.0           0.0           0.0
       12-31-2018               5.9              0.0               4.8             0.0                0.0                  4.8        41.41              0.00        0.000           198.5          0.0           0.0         198.5
       12-31-2019              84.5             36.1              70.3             0.0                2.2                 70.6        44.24              0.00        0.973         3,109.0          0.0           2.2       3,111.1
       12-31-2020             167.4             86.4             139.4             0.0                5.3                140.2        44.86              0.00        0.977         6,252.2          0.0           5.2       6,257.4
       12-31-2021             244.1            183.1             191.0             0.0               11.3                192.9        47.18              0.00        1.007         9,012.5          0.0          11.4       9,023.9
       12-31-2022             256.2            199.1             198.3             0.0               12.3                200.4        47.73              0.00        1.007         9,466.3          0.0          12.4       9,478.7
       12-31-2023             404.5            209.1             322.9             0.0               30.5                327.9        46.97              0.00        2.312        15,164.8          0.0          70.5      15,235.4
       12-31-2024             517.2            230.1             413.5             0.0               48.6                421.6        46.44              0.00        2.609        19,199.8          0.0         126.9      19,326.7
       12-31-2025             564.3            201.0             447.3             0.0               39.9                454.0        46.09              0.00        2.566        20,618.2          0.0         102.3      20,720.5
       12-31-2026             478.4            180.6             378.9             0.0               34.2                384.6        46.14              0.00        2.531        17,485.4          0.0          86.5      17,571.9
       12-31-2027             415.0            164.3             328.8             0.0               30.0                333.8        46.12              0.00        2.506        15,163.3          0.0          75.3      15,238.6
       12-31-2028             362.9            150.6             287.7             0.0               26.9                292.2        46.10              0.00        2.487        13,262.7          0.0          66.8      13,329.6
       12-31-2029             319.5            138.7             253.6             0.0               24.3                257.6        46.06              0.00        2.474        11,678.7          0.0          60.2      11,738.9
       12-31-2030             283.0            128.2             224.9             0.0               22.3                228.6        46.01              0.00        2.465        10,350.4          0.0          54.9      10,405.2
       12-31-2031             228.0            118.0             183.0             0.0               20.4                186.4        45.60              0.00        2.464         8,343.8          0.0          50.4       8,394.2
       12-31-2032             179.4             89.7             146.0             0.0               17.7                148.9        45.01              0.00        2.562         6,571.3          0.0          45.4       6,616.7
       12-31-2033             138.6             66.5             114.9             0.0               15.5                117.5        44.24              0.00        2.668         5,083.9          0.0          41.2       5,125.1
       12-31-2034              87.1             27.3              75.4             0.0               12.3                 77.5        42.03              0.00        2.960         3,169.7          0.0          36.4       3,206.2
       12-31-2035              77.0             23.7              67.1             0.0               11.5                 69.0        41.72              0.00        2.981         2,798.8          0.0          34.2       2,833.0
       12-31-2036              71.1             22.4              62.0             0.0               10.8                 63.9        41.69              0.00        2.981         2,586.7          0.0          32.3       2,618.9

      SUBTOTAL              4,884.0           2,255.1           3,909.8            0.0              376.1           3,972.4            45.91             0.00        2.431    179,516.0              0.0                914.4   180,430.5
      REMAINING               387.9             140.5             342.4            0.0               68.0             353.8            41.48             0.00        2.981     14,204.4              0.0                202.6    14,407.1
      TOTAL                 5,271.9           2,395.6           4,252.2            0.0              444.1           4,326.2            45.56             0.00        2.516    193,720.5              0.0              1,117.1   194,837.5
      CUM PROD                337.5               0.0
      ULTIMATE              5,609.4           2,395.6


                                                             NET DED!,,!QTIQNS~PENDIT!,.!RES                                        E!.!TURE NET REVENUE
         PERIOD            NUMBER OF                     TAXES                  CAPITAL         OPERATING            !,.!NDISQQ!.!NTED             DISQQUNTED AT lQ.QQQ 0&i                                 PRESENT WQRTH eBQFILE
         ENDING       ACTIVE QQMPLETIONS        PRODUCTION    ADVALOREM          COST            EXPENSE          PERIOD             CUM           PERIOD          CUM                                     DISC RATE      CUM PW
         M-D-Y        GROSS        NET              ~              Mi             Mi                ~                Mi                     ~                   Ml           Mi                                0
                                                                                                                                                                                                                lo     _____Mi
        12-31-2017            0        0.0               0.0             0.0             0.0              0.0                 0.0                  0.0                0.0         0.0                         8.000              45,112.0
        12-31-2018            1        1.0               0.0             0.0        1,305.0              18.8            -1,125.3            -1,125.3              -995.7      -995.7                        12.000              29,198.0
        12-31-2019           15       15.0               0.0             0.0        9,185.0             201.5            -6,275.4            -7,400.7            -4,897.4    -5,893.0                        13.000              26,265.5
        12-31-2020           17       17.0               0.0             0.0        1,293.0             446.1             4,518.3             -2,882.3           3,248.8     -2,644.2                        15.000              21,309.6
        12-31-2021           36       36.0               0.0             0.0       11,983.5             555.9            -3,515.6             -6,397.9           -2,388.7    -5,032.8                        18.000              15,643.9
        12-31-2022           46       45.6               0.0             0.0        5,976.4             730.8             2,771.5            -3,626.4             1,714.5    -3,318.4                        20.000              12,750.6
        12-31-2023           66       66.0               0.0             0.0       10,680.8           1,575.4             2,979.1               -647.3            1,459.8    -1,858.6                        25,000               7,625.1
        12-31-2024           88       87.8               0.0             0.0        8,791.8           2,444.3             8,090.6              7,443.3            3,925.1     2,066.5                        30.000               4,458.7
        12-31-2025           91       91.0               0.0             0.0             0.0          2,847.6            17,873.0            25,316.2             7,965.3    10,031.8                        35.000               2,456.0
        12-31-2026           91       91 .0              0.0             0.0             0.0          2,539.6            15,032.3            40,348.5             6,088.2    16,120.0                        40.000               1,167.4
        12-31-2027           91       91.3               0.0             0.0             0.0          2,312.8            12,925.7            53,274.3             4,758.8    20,878.9
        12-31-2028           92       92.0               0.0             0.0             0.0          2,135.9            11,193.7            64,467.9             3,746.3    24,625.1
        12-31-2029           92       92.0               0.0             0.0             0.0          1,988.6             9,750.3            74,218.2             2,966.4    27,591.6
        12-31-2030           92       92.0               0.0             0.0             0.0          1,869.5             8,535.8            82,754.0             2,360.8    29,952.3
        12-31-2031           75       74.6               0.0             0.0             0.0          1,461.1             6,933.1            89,687.1             1,743.8    31,696.2
        12-31-2032           69       69.0               0.0             0.0             0.0          1,381.1             5,235.5            94,922.7             1,198.9    32,895.1
        12-31-2033           47       47.0               0.0             0.0             0.0          1,259.0             3,866.1            98,788.8               805.1    33,700.2
        12-31-2034           34       34.0               0.0             0.0             0.0            611.3             2,594.9           101,383.6               490.2    34,190.4
        12-31-2035           18       18.0               0.0             0.0             0.0            493.1             2,339.9           103,723.6               401.7    34,592 .1
        12-31-2036           18       18.0               0.0             0.0             0.0            482.8             2,136.1           105,859.7               333.4    34,925.5

      SUBTOTAL                                            0.0             0.0       49,215.5         25,355.2        105,859.7              105,859.7           34,925.5     34,925.5
-I    REMAINING                                           0.0             0.0            0.0          2,744.5         11,662.6              117,522.3            1,273.0     36,198.6
D>    TOTAL OF 27.8 YRS                                   0.0             0.0       49,215.5         28,099.7        117,522.3              117,522.3
C"                                                                                                                                                              36,198.6     36,198.6
m
<    All estimates and exhibits herein are part of this NSA/ report and are subject to its parameters and conditions.                                                                        BASED ON HVI PRICE AND COST PARAMETERS
                             Case
                              19-12417-mew
                                  9:19-bk-11573-MB
                                              Doc 52-2
                                                     DocFiled
                                                         283 08/15/19
                                                              Filed 09/26/19
                                                                        EnteredEntered
                                                                                08/15/19
                                                                                       09/26/19
                                                                                         16:15:45
                                                                                                13:55:11
                                                                                                    Exhibit Desc
                                                                                                            B
                                                      Main Document
                                                               Pg 21 of Page
                                                                        23 41 of 55



                                                                                             SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                       AS OF DECEMBER 31, 2016                                                                                         CERTAIN PROPERTIES
       HVI CAT CANYON, INC. INTEREST                                                                                                                                                                                 LOCATED IN CALIFORNIA
                                                                                                         PROBABLE RESERVES



          PERIOD             ~RQSS BE§l;B~E;§                                        NET B~ERVE§                                             AV!;M~!;; PRIQ!;§                                   ~BQ§§ REV!;N!J!;
          ENDING            OIL            GAS                   OIL              NGL           GAS                EQUIV             OIL           NGL          GAS           OIL               NGL          GAS                    TOTAL
           M:Q:Y__         MBBL           MMQF                  MBBL              MBBL         MMQE                MeQE             S/BBL         $L~BL        SlMQF          M:i                Mi                  Mi          _____Ml
         12-31-2017              5.1                0.8                  4.1           0.0               0.3              4.1         43.57              0.00        3.470          177.5             0.0                  1.1             178.7
         12-31-2018              8.0                1.2                  6.4           0.0               0.5              6.5         44.14              0.00        3.151          2822              0.0                  1.5             283.7
         12-31-2019             13.3               3.4                  11.1           0.0               0.9             11.3         43.50              0.00        2.759          484.2             0.0                  2.6             486.8
         12-31-2020             26.7               6.8                  22.7           0.0               1.8             23.0         43.68              0.00        2.709           989.9            0.0                  4.7           994.7
         12-31-2021            102.8              23.7                  92.8           0.0               8.2             94.1         42.33              0.00        2.872         3,926.8            0.0                 23.6         3,950.4
         12-31-2022            234.3              93.3                 204.4           0.0              20.2            207.8         43.39              0.00        2.628         8,868.1            0.0                 53.0         8,921.1
         12-31-2023            348.9              99.7                 312.1           0.0              28.3            316.8         42.82              0.00        2.780        13,363.4            0.0                 78.7        13,442.1
         12-31-2024            390.3             106.8                 354.1           0.0              34.7            359.9         42.31              0.00        2.844        14,983.5            0.0                 98.7        15,082.3
         12-31-2025            377.3             100.0                 342.7           0.0              33.2            348.2         42.27              0.00        2.853        14,485.5            0.0                 94.8        14,580.3
         12-31-2026            358.5              94.3                 325.5           0.0              31.8            330.8         42.29              0.00        2.858        13,765.7            0.0                 90.7        13,856.5
         12-31-2027            341.1              89.3                 309.7           0.0              30.3            314.8         42.30              0.00        2.861        13,101.7            0.0                 86.8        13,188.6
         12-31-2028            324.8              84.7                 295.0           0.0              29.0            299.8         42.31              0.00        2.865        12,479.5            0.0                 83.1        12,562.6
         12-31-2029            313.7              81.5                 285.3           0.0              28.3            290.1         42.28              0.00        2.870        12,064.6            0.0                 81.3        12,145.9
         12-31-2030            300.4              77.7                 273.5           0.0              27.3            278.1         42.26              0.00        2.874        11,560.1            0.0                 78.5        11,638.5
         12-31-2031            309.3              74.5                 277.8           0.0              26.1            282.2         42.70              0.00        2.873        11,863.9            0.0                 75.1        11,939.0
         12-31-2032            287.5              82.3                 259.8           0.0              25.8            264.1         42.52              0.00        2.827        11,047.4            0.0                 73.0        11,120.4
         12-31-2033            283.2              78.2                 254.7           0.0              24.8            258.9         42.69              0.00        2.831        10,873.0            0.0                 70.3        10,943.3
         12-31-2034            275.0              79.1                 247.6           0.0              24.1            251.6         42.78              0.00        2.813        10,590.6            0.0                 67.9        10,658.5
         12-31-2035            210.4              46.0                 197.4           0.0              21.4            200.9         41.37              0.00        2.970         8,164.9            0.0                 63.5         8,228.4
         12-31-2036            198.7              42.6                 186.9           0.0              20.5            190.4         41.24              0.00        2.981         7,709.9            0.0                 61.2         7,771.1

       SUBTOTAL               4,709.2           1,266.1              4,263.7           0.0             417.8          4,333.3         42.40              0.00        2.849    180,782.4               0.0              1,190.5       181,972.9
       REMAINING              5,046.0             943.8              4,591.9           0.0             446.6          4,666.4         41.10              0.00        2.981    188,733.4               0.0              1,331.3       190,064.7
       TOTAL                  9,755.1           2,209.9              8,855.6           0.0             864.4          8,999.7         41.73              0.00        2.917    369,515.9               0.0              2,521.8       372,037.7
       CUM PROD               7,330.2           3,787.9
       ULTIMATE              17,085.4           5,997.8


                                                            ~ET Dl;;Q!JQTIQNSl!;XPENDIT!JBE§                                          FUT!JB!;; ~l;;T REVEN!JE
          PERIOD            NUMBER OF                     TAXE§                  CAPITAL           OPERATING            lJNDl§QO!.!tfiED                DISCOUNTED AI 1Q QQQ 0'1!                            PRESENT WQRIH PRQFl!.E
          ENDING       ACTIVE QQMPLETIQN§        PRODUCTION   ADVALOREM           COST              EXPENSE          PERIOD            CUM              PERIOD         CUM                                  DISC RATE      CUM PW
           M-D-Y       GROSS        NET                   Mi               Mi          Mi              Mi              MS                   MS                  Mi           Mi                                •tq           _____Ml
         12-31-2017             2         2.0                  0.0              0.0        167.0            20.5             -8.8                 -8.8              -13.5        -13.5                         8.000                  63,162.2
         12-31-2018             3         3.0                  0.0              0.0          0.0            49.5           234.2                225.4              203.2        189.7                         12.000                  40,508.5
         12-31-2019             5         5.0                  0.0              0.0        174.9            77.5           234.4                459.8              180.7        370.4                         13.000                  36,553.1
         12-31-2020             7         7.0                  0.0              0.0        356.6           111.8           526.3                986.1              374.8        745.2                         15.000                  30,017.8
         12-31-2021            29        29.0                  0.0              0.0      2,911.9           484.7           553.9              1,540.0              326.3      1,071.5                         18.000                  22,763.3
         12-31-2022            43        43.0                  0.0              0.0      5,489.0         1,124.5         2,307.7              3,847.6            1,284.8      2,356.3                         20.000                  19,137.3
         12-31-2023            71        71.0                  0.0              0.0      4,625.0         1,949.7         6,867.4             10,715.1            3,660.5      6,016.9                         25.000                  12,804.6
         12-31-2024            73        73.0                  0.0              0.0        350.0         2,278.8        12,453.5             23,168.5            6,095.4     12,112.3                         30.000                   8,896.3
         12-31-2025            73        73.0                  0.0              0.0          0.0         2,286.3        12,294.1             35,462.6            5,473.0     17,585.3                         35:000                   6,372.2
         12-31-2026            73        73.0                  0.0              0.0          0.0         2,257.4        11,599.1             47,061 .7           4,694.1     22,279.4                         40.000                   4,681.9
         12-31-2027            73        73.0                  0.0              0.0          0.0         2,216.3        10,972.2             58,033.9            4,036.7     26,316.1
         12-31-2028            72        72.0                  0.0              0.0          0.0         2,174.7        10,387.9             68,421 .8           3,474.3     29,790.3
         12-31-2029            73        73.0                  0.0              0.0        200.0         2,170.3         9,775.6             78,197.4            2,970.1     32,760.4
         12-31-2030            73        73.0                  0.0              0.0          0.0         2,142.6         9,496.0             87,693.4            2,624.7     35,385.1
         12-31-2031            72        72.0                  0.0              0.0          0.0         2,392.5         9,546.5             97,239.9            2,398.5     37,783.6
         12-31-2032            76        76.0                  0.0              0.0          0.0         2,208.9         8,911 .6           106,151.5            2,035.7     39,819.3
         12-31-2033            94        94.0                  0.0              0.0          0.0         2,327.8         8,615.5            114,766.9            1,787.7     41,607.0
         12-31-2034           104       104.0                  0.0              0.0          0.0         2,719.6         7,938.9            122,705.8            1,501.6     43,108.6
         12-31-2035            80        80.0                  0.0              0.0          0.0         1,888.1         6,340.3            129,046.1            1,088.3     44,196.9
         12-31-2036            63        63.0                  0.0              0.0          0.0         1,749.4         6,021 .6           135,067.8              939.5     45,136.4

       SUBTOTAL                                                0.0              0.0     14,274.3        32,630.8       135,067.8            135,067.8           45,136.4     45,136.4
~      REMAINING                                               0.0              0.0        270.0       134,007.0        55,787.7            190,855.5            5,088.6     50,225.0
Q)     TOTAL OF 36.2 YRS                                       0.0              0.0     14,544.3       166,637.8       190,855.5            190,855.5           50,225.0     50,225.0
C"
ci>
<     All estimates and exhibits herein are part of this NSAI report and are subject to its parameters and conditions.                                                                       BASED ON HVI PRICE AND COST PARAMETERS
                               Case
                                19-12417-mew
                                    9:19-bk-11573-MB
                                                Doc 52-2
                                                       DocFiled
                                                           283 08/15/19
                                                                Filed 09/26/19
                                                                          EnteredEntered
                                                                                  08/15/19
                                                                                         09/26/19
                                                                                           16:15:45
                                                                                                  13:55:11
                                                                                                      Exhibit Desc
                                                                                                              B
                                                        Main Document
                                                                 Pg 22 of Page
                                                                          23 42 of 55


                                                                                         SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                   AS OF DECEMBER 31, 2016                                                                                       CERTAIN PROPERTIES
      HVI CAT CANYON, INC. INTEREST                                                                                                                                                                            LOCATED IN CALIFORNIA
                                                                                                      POSSIBLE RESERVES



         PERIOD              ~ROSS Rl;;§ERVES                                   NET RE§!;;BVE§                                           AVERAGE PRIQ!;;§                                 !.2BQSSB~!'.:!!.!E
         ENDING             OIL            GAS              OIL              NGL              GAS               EQUIV              OIL        NGL           GAS          OIL             NGL             GAS               TOTAL
          ~                MBBL           MMCF             MBBL              MBBL            MMQF               M!;!QE           ilBBL       ~BL          it'.MQF         MS             Mi               ~               _Mi
        12-31-2017                0.0             0.0                0.0           0.0               0.0                0.0         0.00             0.00        0.000          0.0            0.0                  0.0           0.0
        12-31-2018                0.0             0.0                0.0           0.0               0.0                0.0         0.00             0.00        0.000          0.0            0.0                  0.0           0.0
        12-31-2019                1.5             1.5                1.1           0.0               0.1                1.1        49.66             0.00        0.973         54.0            0.0                  0.1          54.0
        12-31-2020              100.5             3.5               97.7           0.0               0.2               97.7        41.13             0.00   -1177.451       4,016.7            0.0               -257.5       3,759.2
        12-31-2021              146.3             7.5              141.5           0.0               0.5              141.6        41.39             0.00    -560.778       5,857.1            0.0               -259.8       5,597.3
        12-31-2022              170.8            53.6              153.9           0.0               3.3              154.5        43.40             0.00      -77.666      6,679.3            0.0               -257.0       6,422.4
        12-31-2023              182.0            65.0              158.0           0.0               4.0              158.7        45.35             0.00      -63.875      7,167.4            0.0               -256.3       6,911.2
        12-31-2024              134.5            52.0              115.7           0.0               3.2              116.2        45.49             0.00      -80.014      5,262.9            0.0               -257.1       5,005.8
        12-31-2025              112.0            45.8               94.4           0.0               2.8               94.8        46.04             0.00      -91.106      4,344.3            0.0               -257.4       4,086.9
        12-31-2026               97.9            41.7               80.7           0.0               2.6               81 .1       46.67             0.00    -100.017       3,766.3            0.0               -257.7       3,508.6
        12-31-2027               87.7            38.7               70.9           0.0               2.4               71.3        47.26             0.00    -107.952       3,349.3            0.0               -257.9       3,091.4
        12-31-2028               79.6            36.0               63.3           0.0               2.2               63.6        47.77             0.00    -116.156       3,022.0            0.0               -258.1       2,763.9
        12-31-2029              291.6            33.5              235.1           0.0               2.1              235.4        42.79             0.00     -124.975     10,057.1            0.0               -258.2       9,798.9
        12-31-2030            1,008.4            31.1              817.1           0.0               1.9              817.4        41.53             0.00      -66.725     33,931.4            0.0               -128.2      33,803.2
        12-31-2031            1,541.5            28.9            1,250.0           0.0               1.8            1,250.3        41.35             0.00        1.007     51,690.8            0.0                  1.8      51,692.6
        12-31-2032            1,372.3            35.3            1,110.1           0.0               2.2            1,110.4        41.56             0.00        1.007     46,135.1            o.o                  2.2      46,137.3
        12-31-2033              940.3            30.4              759.9           0.0               1.9              760.2        41.66             0.00        1.007     31,653.2            0.0                  1.9      31,655.1
        12-31-2034              624.2            39.9              503.7           0.0               2.5              504.1        41.81             0.00        1.007     21,059.7            0.0                  2.5      21,062.2
        12-31-2035              421.5            13.5              340.2           0.0               0.8              340.4        42.11             0.00        1.007     14,326.8            0.0                  0.8      14,327.7
        12-31-2036              277.9             0.1              224.7           0.0               0.0              224.7        42.23             0.00        1.007      9,488.1            0.0                  0.0       9,488.1

       SUBTOTAL               7,590.7            558.0           6,217.8           0.0              34.5            6,223.6         42.11            0.00      -78.250    261,861.4            0.0             -2,695.8     259,165.6
       REMAINING                518.0              0.0             418.3           0.0               0.0              418.3         42.58            0.00        0.000     17,810.6            0.0                  0.0      17,810.6
       TOTAL                  8,108.6            558.0           6,636.1           0.0              34.5            6,641.8         42.14            0.00      -78.250    279,672.0            0.0             -2,695.8     276,976.2
       CUM PROD                   0.0              0.0
       ULTIMATE               8,108.6            558.0


                                                            NET DED!JQTIQN§~P!;;!'.:!DIT!JRE§                                    F!JI!,!RE NET BEVEN!JE
          PERIOD             NUMBER OF                    TAXES               CAPITAL           OPERATING            !JNDISQQ!JNTED              DISQQ!JNTED A_T 1Q.QOQ~                              PRE§Efil WQRT!:l PRQFIL!;;
          ENDING       ~QTIVE CQMPLETIQNS        PRODUCTION   ADVALOREM         COST             EXPENSE          PERIOD          CUM            PERIOD           CUM                                DISC RATE         CUM PW
          M:Q:Y_        !:2ROS§      Nfil:           ~            MS               Mi               M:i             MS             Mi               MS              Mi                                   0£q          __.Mi
         12-31-2017             0         0.0              0.0             0.0          40.0              0.0            40.0                40.0              -37.4        -37.4                       8.000                63,222.6
         12-31-2018             0         0.0              0.0             0.0         120.0              0.0           -120.0              -160.0            -102.8       -140.2                      12.000                38,838.4
         12-31-2019             0         0.0              0.0             0.0         935.0              0.0           -881.0            -1,041.0            -684.7       -824.9                      13.000                34,639.9
         12-31-2020             1         1.0              0.0             0.0           0.0            241.3          3,517.9             2,477.0           2,501.0      1,676.2                      15.000                27,797.3
         12-31-2021             1         1.0              0.0             0.0           0.0            335.7          5,261.6             7,738.5           3,427.3      5,103.4                      18.000                20,413.7
         12-31-2022             9         9.0              0.0             0.0       5,756.4            353.0            313.0             8,051.5             175.8      5,279.3                      20.000                16,846.7
         12-31-2023            11        11.0              0.0             0.0           0.0            434.3          6,476.9            14,528.4           3,498.6      8,777.9                      25.000                10,903.3
         12-31-2024            11        11.0              0.0             0.0           0.0            362.6          4,643.2            19,171.6           2,277.4     11,055.3                      30.000                 7,476.1
         12-31-2025            11        11.0              0.0             0.0           0.0            347.8          3,739.1            22,910.7           1,666.2     12,721.4                      35.000                 5,381.4
         12-31-2026            11        11.0              0.0             0.0           0.0            343.4          3,165.2            26,075.8           1,281.9     14,003.3                      40.000                 4,029.8
         12-31-2027            11        11.0              0.0             0.0           0.0            339.3          2,752.2            28,828.0           1,013.1     15,016.4
         12-31-2028            11        11.0              0.0             0.0           0.0            334.4          2,429.5            31,257.5             813.0     15,829.4
         12-31-2029            17        17.0              0.0             0.0      24,000.0            889.3        -15,090.3            16,167.2          4,656.2      11,173.2
         12-31-2030            23        23.0              0.0             0.0      24,000.0          2,637.0          7,166.2            23,333.3           1,898.3     13,071.4
         12-31-2031            22        22.0              0.0             0.0           0.0          3,912.5         47,780.1            71,113.4          11,995.6     25,067.0
         12-31-2032            41        41.0              0.0             0.0           0.0          3,815.6         42,321.7           113,435.1           9,685.1     34,752.1
         12-31-2033            48        48.0              0.0             0.0           0.0          2,759.4         28,895.7           142,330.8           6,019.2     40,7712
         12-31-2034            24        24.0              0.0             0.0           0.0          1,885.3         19,176.8           161,507.6           3,629.5     44,400.7
         12-31-2035            44        44.0              0.0             0.0           0.0          2,089.1         12,238.5           173,746.1           2,107.8     46,508.6
         12-31-2036            44        44.0              0.0             0.0           0.0          1,830.7          7,657.4           181,403.5           1,198.3     47,706.9

       SUBTOTAL                                            0.0             0.0      54,851.4         22,910.7        181,403.5           181,403.5          47,706.9     47,706.9
-t     REMAINING                                           0.0             0.0           0.0          5,665.2         12,145.4           193,548.9           1,551.3     49,258.2
D>     TOTAL OF 28.1 YRS                                   0.0             0.0      54,851.4         28,575.9        193,548.9           193,548.9          49,258.2     49,258.2
CT
co
=:;   All estimates and exhibits herein are part of this NSAI report and are subject to its parameters and conditions.                                                                BASED ON HVI PRICE AND COST PARAMETERS
                                 Case
                                  19-12417-mew
                                      9:19-bk-11573-MB
                                                  Doc 52-2
                                                         DocFiled
                                                             283 08/15/19
                                                                  Filed 09/26/19
                                                                            EnteredEntered
                                                                                    08/15/19
                                                                                           09/26/19
                                                                                             16:15:45
                                                                                                    13:55:11
                                                                                                        Exhibit Desc
                                                                                                                B
                                                          Main Document
                                                                   Pg 23 of Page
                                                                            23 43 of 55



                                                                                                  SUMMARY PROJECTION OF RESERVES AND REVENUE
                                                                                                            AS OF DECEMBER 31, 2016                                                                                       BELRIDGE NORTH FIELD
          HVI CAT CANYON, INC. INTEREST                                                                                                                                                                                KERN COUNTY, CALIFORNIA
                                                                                                             TOTAL PROVED RESERVES



              PERIOD             QRQSS Bt;SEBVES                                        Nl;T RESl;;RVES                                               6Y:~!3&2E PBIQES                                  ~RQSS REY!;~!.!!;;
              ENDING            OIL           GAS                    OIL             NGL               GAS                 EQUIV                OIL          NGL       GAS              OIL            NGL           GAS                 TOTAL
               ~               M~BL          MMQF                  MBBL              MBB!,            MMQE                 MOOE                ~BBL         ~BL        ~CF              MS             Mi             MS              ______Mi
             12-31-2017             31.8              16.3                  24.0            0.0                1.0                  24.1         49.26            0.00         1.496      1,180.0            0.0                1.5          1,181.5
             12-31-2018             30.8              14.4                  23.2            0.0                0.9                  23.4         50.11            0.00         1.177      1,163.6            0.0                1.0          1,164.7
             12-31-2019             65.0              48.7                  48.3            0.0                3.0                  48.8         49.66            0.00         0.973      2,398.7            0.0                2.9          2,401 .7
             12-31-2020            113.5              97.3                  83.9            0.0                6.0                  84.9         49.60            0.00         0.977      4,162.3            0.0                5.9          4,168.2
             12-31-2021            208.4             192.4                 153.6            0.0               11.9                 155.6         49.75            0.00         1.007      7,643.8            0.0               12.0          7,655.8
             12-31-2022            229.4             206.5                 170.0            0.0               12.7                 172.1         49.75            0.00         1.007      8,456.6            0.0               12.8          8,469.4
             12-31-2023            276.2             173.9                 208.8            0.0               10.7                 210.6         49.75            0.00         1.007     10,388.9            0.0               10.8         10,399.7
             12-31-2024            333.3             153.9                 248.7            0.0                9.5                 250.3         49.75            0.00         1.007     12,374.6            0.0                9.6         12,384.2
             12-31-2025            343.3             140.6                 255.2            0.0                8.7                 256.7         49.75            0.00         1.007     12,697.2            0.0                8.7         12,706.0
             12-31-2026            295.1             130.2                 219.2            0.0                8.0                 220.6         49.75            0.00         1.007     10,906.5            0.0                8.1         10,914.6
             12-31-2027            256.1             120.9                 190.3            0.0                7.5                 191.5         49.75            0.00         1.007      9,465.4            0.0                7.5          9,473.0
             12-31-2028            223.8             112.3                 166.3            0.0                6.9                 167.5         49.75            0.00         1.007      8,274.2            0.0                7.0          8,281.2
             12-31-2029            196.8             104.3                 146.2            0.0                6.4                 147.3         49.75            0.00         1.007      7,274.5            0.0                6.5          7,281.0
             12-31-2030            173.8              96.8                 129.2            0.0                6.0                 130.2         49.75            0.00         1.007      6,428.1            0.0                6.0          6,434.2
             12-31-2031            130.1              89.1                  96.9            0.0                5.5                  97.8         49.75            0.00         1.007      4,821.9            0.0                5.5          4,827.4
             12-31-2032             84.0              60.9                  62.8            0.0                3.8                  63.5         49.75            0.00         1.007      3,125.7            0.0                3.8          3,129.5
             12-31-2033             47.0              39.7                  35.5            0.0                2.4                  35.9         49.75            0.00         1.007      1,765.3            0.0                2.5          1,767.8
             02-28-2034              3.3               2.2                   2.6            0.0                0.1                   2.6         49.75            0.00         1.007        129.0            0.0                0.1            129.1



           SUBTOTAL               3,041.6           1,800.1              2,264.9            0.0              111.1            2,283.4            49.74            0.00         1.010    112,656.6            0.0              112.3        112,768.9
           REMAINING                  0.0               0.0                  0.0            0.0                0.0                0.0             0.00            0.00         0.000          0.0            0.0                0.0              0.0
           TOTAL                  3,041.6           1,800.1              2,264.9            0.0              111 .1           2,283.4            49.74            0.00         1.010    112,656.6            0.0              112.3        112,768.9
           CUM PROD               3,571.5           1,566.8
           ULTIMATE               6,613.1           3,366.9


                                                                 NET DED!JCTIQNS~Ef.NDIT!JRES                                                 E!JTURE NET REVEN!.!!;;
              PERIOD            NUMBER OF                     IAXES               CAPITAL                OPERATING              !,!NDl§CQ!,!NTED            Dl§QQ!,!NTED AT 1Q.OOQ~                                 PRES!;NT WQRTH PBQFILE
              ENDING       ACTIVI;; QQMPLETIQ~S      PRODUCTION   ADVALOREM        COST                   EXPENSE            PERIOD            CUM          PERIOD           CUM                                   DISC RATE       CUM PW
               .M:Q:Y___   GRQSS          NET                 MS              MS            MS               MS                MS                     MS                 MS            MS                             °b          _____Mi
             12-31-2017           37         37.0                  0.0             0.0           91.5             557.8               532.1              532.1               507.4        507.4                       8.000                 22,939.8
             12-31-2018           37         37.0                  0.0             0.0            0.0             564.9               599.8            1,131.9               520.6      1,028.0                      12.000                 15,276.3
             12-31-2019           47         47.0                  0.0             0.0        6,625.0             607.2            -4,830.5           -3,698.6            -3,763.3     -2,735.3                      13.000                 13,822.1
             12-31-2020           49         49.0                  0.0             0.0        1,293.0             713.7             2,161.5           -1,537.1             1,554.3     -1,181.0                      15.000                 11,333.2
             12-31-2021           67         67.0                  0.0             0.0       11,983.5             860.9            -5,188.6           -6,725.7            -3,481 .0    -4,662.0                      18.000                  8,438.5
             12-31-2022           76         75.6                  0.0             0.0        5,976.4           1,040.1             1,452.9           -5,272.8               932.3     -3,729.7                      20.000                  6,940.4
             12-31-2023           87         87.0                  0.0             0.0        3,745.2           1,744.3             4,910.2             -362.5             2,573.5     -1,156.2                      25.000                  4,257.5
             12-31-2024          103        102.8                  0.0             0.0        4,591.8           2,380.7             5,411 .7           5,049.2             2,561.1      1,404.9                      30.000                  2,589.0
             12-31-2025          105        105.0                  0.0             0.0            0.0           2,571 .0           10,135.0           15,184.1             4,515.8      5,920.7                      35.000                  1,537.8
             12-31-2026          104        104.0                  0.0             0.0            0.0           2,330.1             8,584.5           23,768.7             3,477.0      9,397.7                      40.000                    870.5
             12-31-2027          104        104.3                  0.0             0.0            0.0           2,148.0             7,325.0           31,093.7             2,697.0     12,094.7
             12-31-2028          104        104.0                  0.0             0.0            0.0           2,003.2             6,278.0           37,371.6             2,101.3     14,196.0
             12-31-2029          104        104.0                  0.0             0.0            0.0           1,882.6             5,398.4           42,770.0             1,642.6     15,838.6
             12-31-2030          103        103.0                  0.0             0.0            0.0           1,780.1             4,654.0           47,424.1             1,287.3     17,126.0
             12-31-2031           84         83.6                  0.0             0.0            0.0           1,379.5             3,447.9           50,872.0               867.7     17,993.7
             12-31-2032           69         69.0                  0.0             0.0            0.0           1,039.4             2,090.1           52,962.1               480.1     18,473.8
             12-31-2033           29         29.0                  0.0             o.o            0.0             740.7             1,027.1           53,989.2               215.3     18,689.1
             02-28-2034           16         16.0                  0.0             0.0            0.0             106.5                22.6           54,011 .8                4.5     18,693.6



           SUBTOTAL                                                0.0             0.0       34,306.4         24,450.7          54,011.8              54,011.8           18,693.6      18,693.6
           REMAINING                                               0.0             0.0            0.0              0.0               0.0              54,011.8                0.0      18,693.6
-u
Q)         TOTAL OF 17.2 YRS                                       0.0             0.0       34,306.4         24,450.7          54,011.8              54,011.8           18,693.6      18,693.6
(0
 (1)
 ...loo   All estimates and exhibits herein are part of this NSA/ report and are subject to its parameters and conditions.                                                                          BASED ON HVI PRICE AND COST PARAMETERS
Case 9:19-bk-11573-MB   Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11   Desc
                         Main Document    Page 44 of 55




                            EXHIBIT B
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 1 ofPage
                                               8   45 of 55


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                         Chapter 11

 HVI Cat Canyon, Inc.,                          Case No. 19-12417-MEW

          Debtor.




            SECURED CREDITOR UBS AG, LONDON BRANCH’S MOTION
              IN LIMINE TO PRECLUDE 2016 NETHERLAND SEWELL
              RESERVE REPORT AT CASH-COLLATERAL HEARING
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 2 ofPage
                                               8   46 of 55


                                                    TABLE OF CONTENTS

                                                                                                                                    Page

 PRELIMINARY STATEMENT ................................................................................................... 1
 BACKGROUND ........................................................................................................................... 1
           UBS is Debtor’s senior secured creditor and holds liens on
           all of Debtor’s assets, including the oil still in the ground................................................ 1
           In its motion to approve cash collateral, Debtor asserts
           enterprise value based on the 2016 Reserve Report. ......................................................... 2
           Debtor did not supplement its testimony
           on value after the First-Day Hearing. ............................................................................... 3
 ARGUMENT ................................................................................................................................. 3
           THE 2016 RESERVE REPORT IS INADMISSIBLE
           HEARSAY, AS THE COURT HAS ALREADY HELD. .................................................................. 3

 CONCLUSION .............................................................................................................................. 6




                                                                       i
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 3 ofPage
                                               8   47 of 55


                                     PRELIMINARY STATEMENT1
         Secured Creditor UBS moves in limine for an order to preclude Debtor from relying on

 the 2016 Netherland Sewell Reserve Report at the upcoming final cash-collateral hearing

 because that report is inadmissible hearsay. Indeed, the Court already so ruled at the August 1,

 2019 First-Day Hearing. When Debtor had a chance to supplement its proposed proof in support

 of its pending cash-collateral motion, it submitted a non-narrative, four-paragraph declaration

 from its chairman Randeep Grewal, who had testified at length at the First-Day Hearing. That

 declaration did nothing at all to cure the 2016 Reserve Report’s hearsay problem. Instead,

 Debtor simply tried to reargue that the 2016 Reserve Report is admissible by asserting the same

 rationale as at the First-Day Hearing, i.e., that alleged authenticity somehow resolves the hearsay

 problem. It does not.

         The 2016 Reserve Report was inadmissible then, and it is inadmissible now. Just as

 inadmissible is any testimony based on that hearsay report. Therefore, the Court should

 disregard such alleged valuation testimony from the First-Day Hearing transcript.

                                               BACKGROUND
                      UBS is Debtor’s senior secured creditor and holds liens on
                      all of Debtor’s assets, including the oil still in the ground.

         Debtor and its affiliated co-borrower RILP and parent holding company GOGH owe

 UBS more than $125 million under two secured credit agreements that have been in default for

 several years.2 Debtor’s obligations under the credit agreements are secured, valid, perfected,

 and non-avoidable first- and second-priority liens on all of its assets. UBS’s collateral includes,



 1
     “UBS” refer to UBS AG, London Branch. “HVICC” or “Debtor” refers to HVI Cat Canyon, Inc. “2016
     Reserve Report” refers to Netherland, Sewell and Associates, lnc.’s Estimate of Reserves and Future Revenue
     to the HVI Cat Canyon, Inc. Interest in Certain Oil and Gas Properties located in California as of December 31,
     2016.
 2
     “RILP” refers to Rincon Island Limited Partnership and “GOGH” refers to GOGH, LLC.


                                                          1
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 4 ofPage
                                               8   48 of 55


 without limitation, all cash collateral, Debtor’s interests in oil and gas properties located in Santa

 Barbara County, Kern County, and Orange County, California, and the proceeds generated from

 Debtor’s production and sale of oil.

         Debtor’s oil and gas properties represent the overwhelming majority of value in UBS’s

 collateral. Debtor’s business model is relatively straightforward. The Debtor has leasehold

 interests in oil and gas properties and accesses the reserves to extract, sell, and convert the

 underlying oil into cash proceeds. Debtor then uses the cash proceeds to pay operating expenses

 incurred producing oil. In turn, Debtor repeats the cycle of extracting and selling oil to generate

 more cash proceeds to pay its operating expenses and continue producing more oil. But Debtor’s

 oil reserves are diminishing natural resources that will eventually be exhausted. In the process of

 extracting the oil, Debtor continually depletes the aggregate reserve bases, but it does not create

 any new assets that are not already encumbered by UBS’s liens. Rather, Debtor simply sells

 crude oil that is UBS’s collateral and generates cash proceeds that also are UBS’s collateral.

                        In its motion to approve cash collateral, Debtor asserts
                          enterprise value based on the 2016 Reserve Report.

         In its July 30, 2019 motion to approve cash collateral, Debtor asserts that the “2016 year-

 end valuation of Debtor’s assets provides a net present value for Debtor’s oil and gas reserves,

 subject to Secured Lender’s lien, of $235 million.”3 In the supporting declaration, Debtor also

 asserts that “the price per barrel has risen from approximately $55” at the time of the report “to

 today’s price of $57.28, an increase of approximately 4%, thus bringing the value of the reserve

 assets to upwards of $245 million or greater, well in excess of Secured Creditors’ liens.”4




 3
     Docket No. 11 at ¶ 11.
 4
     Docket No. 11 at ¶ 13.


                                                   2
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 5 ofPage
                                               8   49 of 55


         Mr. Grewal then testified to this at the First-Day Hearing. He made clear that his view of

 the “value of the assets” was based on the 2016 Reserve Report, testifying that “a rule of thumb

 would be that a Netherland Sewell report is a very good indicator of value.”5 Mr. Grewal offered

 no other foundation for his view of value.

                                 Debtor did not supplement its testimony
                                  on value after the First-Day Hearing.

         When Debtor had a chance to supplement its proof in support of its cash-collateral

 motion, it submitted a four-paragraph declaration from Mr. Grewal. That declaration offers no

 knew testimony about value. Mr. Grewal simply attempts to authenticate the 2016 Reserve

 Report in a single paragraph.6

         Debtor has offered no more recent reserve reports. Nor does Debtor offer any

 independent valuation from an expert or anyone else. Debtor’s counsel has stated that they

 do not intend to call any other witnesses at the cash-collateral hearing (while reserving their

 rebuttal rights).

                                               ARGUMENT
                             THE 2016 RESERVE REPORT IS INADMISSIBLE
                             HEARSAY, AS THE COURT HAS ALREADY HELD.

         At the First-Day Hearing, Debtor’s counsel sought to question Mr. Grewal about the

 2016 Reserve Report and whether it showed that UBS was “secured, under-secured, or over-

 secured.”7 After some colloquy, the Court made the following ruling about the reserve report:

                 Look, you can ask him if he knows personally whether reports were sent
                 to UBS, and how many times and when the most recent one was, but
                 testimony about what the reports said or showed without the reports




 5
     Hr’g Tr. at 44:21–23, 45:3–6.
 6
     Docket No. 52, Randeep Grewal’s August 15, 2019 Declaration at ¶ 4.
 7
     Transcript of August 1, 2019 Hearing (“Hr’g Tr.”) at 36:12.


                                                       3
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 6 ofPage
                                               8   50 of 55


                 themselves, without anybody who prepared them here to testify about
                 them, is just hearsay.8

         When Debtor’s counsel made another pass at trying to have Mr. Grewal testify based on

 the 2016 Reserve Report, the Court had this to say:

                 THE COURT: Well, his discussion of the Netherland Sewell report is
                 discussion of hearsay.

                 MR. WELTMAN: I understand.

                 THE COURT: If he’s—you haven’t qualified him as an expert, you’ve
                 asked him based on different grounds, so I don’t know how he can testify
                 as to a value based on a hearsay report.

                                                .     .       .

                 THE COURT: They’re still—well, you know, you provide reports to
                 people under your agreements for various commercial reasons, but that
                 doesn’t mean that they’re admissible in court without something to
                 validate what they are and how they were prepared and testimony by the
                 author, for example, that it actually was preapared and is valid and states
                 an honest opinion that still exists. You know, whether it’s oral or
                 whether it’s written, it is still hearsay. It’s an out-of-court, unsworn
                 statement.9

 That ruling was of course correct. The 2016 Reserve Report is classic hearsay under Federal of

 Evidence 801.

         Because Debtor did not move to reargue or reconsider that ruling, the matter is res

 judicata. See In re Ridgemour Meyer Properties, LLC, 599 B.R. 215, 239–40 (S.D.N.Y. 2019)

 (a matter is res judicata if it has been adjudicated and not pursued any further). The Court should

 not allow Debtor to proffer now in its supplemental submission the exact same document that the

 Court held to be hearsay just two weeks earlier.

         Moreover, any testimony based on the 2016 Reserve Report is also inadmissible. United

 States v. Cummings, 858 F.3d 763, 774 (2d Cir. 2017) (testimony that relies on inadmissible



 8
     Hr’g Tr. at 38:20–25.
 9
     Hr’g Tr. at 45:19–46:7 (emphasis added).


                                                     4
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 7 ofPage
                                               8   51 of 55


 hearsay not subject to an exception is inadmissible). Therefore, Mr. Grewal’s testimony at the

 First-Day Hearing about the alleged value of UBS’s collateral—which was based entirely on the

 2016 Reserve Report—was inadmissible hearsay. Specifically, when counsel asked if

 Mr. Grewal had a “sense of the value of the assets,” in answering that “UBS’s debt will be

 addressed through the asset sales,” he explained that his testimony was based on the 2016

 Reserve Report:

                   That view comes from a standpoint that, if we were to look at the
                   market—and the market changes based on oil price, the market
                   changes on jurisdiction and cycles, but a rule of thumb would be
                   that a Netherland Sewell report is a very good indicator of value,
                   because Netherland Sewell is a very conservative auditor of value
                   and they do not give you any upside in that report, it’s basically a
                   future cash flow with a current discount factor. So you can take a
                   view on that. When it comes to the market—10

 UBS’s counsel preserved the hearsay objection on the record.11 The Court should now disregard

 Mr. Grewal’s valuation testimony that was based on the 2016 Reserve Report.




 10
      Hr’g Tr. at 44:21–23, 45:3–12.
 11
      Hr’g Tr. at 44:21–23, 45:13–15.


                                                    5
19-12417-mew
 Case 9:19-bk-11573-MB
                Doc 83 Filed
                        Doc 283
                             08/23/19
                                   Filed Entered
                                         09/26/1908/23/19
                                                    Entered20:31:11
                                                             09/26/19 Main
                                                                      13:55:11
                                                                           Document
                                                                               Desc
                         Main Document Pg 8 ofPage
                                               8   52 of 55


                                         CONCLUSION

        UBS respectfully requests that the Court preclude Debtor from relying on the 2016

 Reserve Report—or on any testimony based on that report—to establish enterprise value. The

 Court has already so held because that report is hearsay. There is no reason to change that

 ruling now.

 Dated: August 23, 2019                           O’MELVENY & MYERS LLP
        New York, NY
                                                  /s/ Evan M. Jones                  .
                                                  Evan M. Jones (appearing pro hac vice)
                                                  400 South Hope Street, 18th Floor
                                                  Los Angeles, CA 90071-2899
                                                  T: (213) 430-6000
                                                  F: (213) 430-6407
                                                  ejones@omm.com

                                                  Gary Svirsky
                                                  Times Square Tower
                                                  7 Times Square
                                                  New York, NY 10036
                                                  T: (212) 326-2000
                                                  F: (212) 326-2061
                                                  gsvirsky@omm.com

                                                  Attorneys for UBS AG, London Branch




                                                 6
Case
 19-12417-mew
     9:19-bk-11573-MB
                 Doc 83-1
                        DocFiled
                            283 08/23/19
                                  Filed 09/26/19
                                            EnteredEntered
                                                    08/23/19
                                                           09/26/19
                                                             20:31:11
                                                                    13:55:11
                                                                        Proposed
                                                                             Desc
                         Main Document
                                 Order Pg Page
                                            1 of 153 of 55


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 11

HVI Cat Canyon, Inc.,                                      Case No. 19-12417-MEW

              Debtor.


  [PROPOSED] ORDER GRANTING THE SECURED CREDITOR UBS AG, LONDON
   BRANCH’S MOTION IN LIMINE TO PRECLUDE 2016 NETHERLAND SEWELL
           RESERVE REPORT AT CASH-COLLATERAL HEARING

         Having considered UBS AG, London Branch’s Motion in Limine to Preclude 2016

Netherland Sewell Reserve Report at Cash-Collateral Hearing;

         IT IS HEREBY ORDERED THAT:

         1.       The Motion is granted to the extent provided herein.

         2.       The 2016 Netherland Sewell Reserve Report is inadmissible hearsay.

         3.       The Debtor is precluded from relying on the 2016 Netherland Sewell Reserve

                  Report or on any testimony based on that report at the Cash-Collateral hearing.

         4.       This Court shall not consider the 2016 Netherland Sewell Reserve Report or any

                  related testimony at the Cash-Collateral hearing.




Dated: __________________, 2019
       New York, New York


                                                ____________________________________
                                                HONORABLE MICHAEL E. WILES
                                                UNITED STATES BANKRUPTCY JUDGE
Case 9:19-bk-11573-MB        Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11              Desc
                              Main Document    Page 54 of 55


  1
                                  PROOF OF SERVICE OF DOCUMENT
  2

  3   I am over the age of eighteen and not a party to this bankruptcy case or adversary proceeding.
      My business address is 400 South Hope Street, Los Angeles, California 90071-2899.
  4
      A true and correct copy of the foregoing document entitled EVIDENTIARY OBJECTIONS
  5   TO DECLARATION OF RANDEEP S. GREWAL IN SUPPORT OF MOTION FOR
      INTERIM AND FINAL ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362 AND 363
  6   APPROVING USE OF CASH COLLATERAL, PROVIDING ADEQUATE
      PROTECTION AND SETTING FINAL HEARING PURSUANT TO BANKRUPTCY
  7   RULE 4001 [DKT. NO. 52] will be served or was served (a) on the judge in chambers in the
      form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:
  8
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):
  9   Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
      document will be served by the court via NEF and hyperlink to the document. On 9/26/2019, I
 10   checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
      that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at
 11   the email address(es) indicated below:

 12      •   Alicia Clough      aclough@loeb.com, mnielson@loeb.com, ladocket@loeb.com
 13      •   Marc S Cohen       mscohen@loeb.com, klyles@loeb.com
 14      •   Karl J Fingerhood       karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov
 15      •   Brian D Fittipaldi     brian.fittipaldi@usdoj.gov
 16      •   Karen L Grant        kgrant@silcom.com
 17      •   Matthew C. Heyn        Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com
 18      •   Brian L Holman        b.holman@musickpeeler.com
 19      •   Jeannie Kim      jkim@friedmanspring.com
 20      •   Jeffrey N Pomerantz       jpomerantz@pszjlaw.com
 21      •   Todd C. Ringstad       becky@ringstadlaw.com, arlene@ringstadlaw.com
 22      •   Mitchell E Rishe      mitchell.rishe@doj.ca.gov
 23      •   Daniel A Solitro     dsolitro@lockelord.com, ataylor2@lockelord.com
 24      •   Ross Spence ross@snowspencelaw.com,
             janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau
 25          @snowspencelaw.com
 26      •   Christopher D Sullivan csullivan@diamondmccarthy.com,
 27          mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com

 28
                                                     -1-
                                         EVIDENTIARY OBJECTIONS
Case 9:19-bk-11573-MB        Doc 283 Filed 09/26/19 Entered 09/26/19 13:55:11                Desc
                              Main Document    Page 55 of 55


  1   II. SERVED BY OVERNIGHT FEDEX: On 9/26/2019, I served the following person(s)
      and/or entity(ies) at the last known address(es) in this bankruptcy case or adversary proceeding by
  2   placing a true and correct copy thereof in a sealed envelope in the United States Mail, first class,
      postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
  3   mailing to the judge will be completed no later than 24 hours after the document is filed.

  4   DEBTOR:

  5   HVI Cat Canyon, Inc.
      c/o Capitol Corporate Services, Inc.
  6   36 S. 18th Avenue Suite D
      Brighton, CO 80601
  7

  8   ATTORNEYS FOR DEBTOR:

  9   Weltman & Moskowitz, LLP
      Attn: Michael L. Moskowitz
 10   270 Madison Ave., Ste. 1400
      New York, NY 10016-0601
 11

 12   III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
      TRANSMISSION OR EMAIL (indicate method for each person or entity served):
 13
      Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 9/26/2019 I served the following
 14   person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who
      consented in writing to such service method), by facsimile transmission and/or email as
 15   follows. Listing the judge here constitutes a declaration that personal delivery on the judge
      will be completed no later than 24 hours after the document is filed.
 16
      JUDGE:
 17
      Hon. Martin R. Barash
 18   United States Bankruptcy Court
      Central District of California
 19   21041 Burbank Boulevard, Suite 342 / Courtroom 303
      Woodland Hills, CA 91367
 20
      I declare under penalty of perjury under the laws of the United States of America that the
 21   foregoing is true and correct.
 22   Executed this 26th day of September, 2019, at Los Angeles, California.
 23

 24
                                                                   /s/ Jan Wallis
 25                                                                Jan Wallis
 26

 27

 28
                                                      -2-
                                          EVIDENTIARY OBJECTIONS
